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                         Exhibit “B”
   Case 21-04077                          Doc 16-2 Filed 01/14/22 Entered 01/14/22 21:47:06                                                                                Desc Exhibit
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 Fill in this information to identify your case:

 Debtor 1                   Muhammad Nasir Siddiqi
                            First Name                           Middle Name                          Last Name

 Debtor 2
 (Spouse if, filing)        First Name                           Middle Name                          Last Name


 United States Bankruptcy Court for the:                  EASTERN DISTRICT OF TEXAS

 Case number           19-42834
 (if known)
                                                                                                                                                                       Check if this is an
                                                                                                                                                                        amended filing



Official Form 106Sum
Summary of Your Assets and Liabilities and Certain Statistical Information                                                                                                   12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. Fill out all of your schedules first; then complete the information on this form. If you are filing amended schedules after you file
your original forms, you must fill out a new Summary and check the box at the top of this page.

 Part 1:        Summarize Your Assets

                                                                                                                                                                       Your assets
                                                                                                                                                                       Value of what you own

 1.     Schedule A/B: Property (Official Form 106A/B)
        1a. Copy line 55, Total real estate, from Schedule A/B................................................................................................         $             735,000.00

        1b. Copy line 62, Total personal property, from Schedule A/B.....................................................................................              $             182,000.00

        1c. Copy line 63, Total of all property on Schedule A/B...............................................................................................         $             917,000.00

 Part 2:        Summarize Your Liabilities

                                                                                                                                                                       Your liabilities
                                                                                                                                                                       Amount you owe

 2.     Schedule D: Creditors Who Have Claims Secured by Property (Official Form 106D)
        2a. Copy the total you listed in Column A, Amount of claim, at the bottom of the last page of Part 1 of Schedule D...                                          $             976,449.85

 3.     Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 106E/F)
        3a. Copy the total claims from Part 1 (priority unsecured claims) from line 6e of Schedule E/F.................................                                $                      0.00

        3b. Copy the total claims from Part 2 (nonpriority unsecured claims) from line 6j of Schedule E/F............................                                  $          1,008,532.55


                                                                                                                                     Your total liabilities $                   1,984,982.40


 Part 3:        Summarize Your Income and Expenses

 4.     Schedule I: Your Income (Official Form 106I)
        Copy your combined monthly income from line 12 of Schedule I................................................................................                   $                5,282.76

 5.     Schedule J: Your Expenses (Official Form 106J)
        Copy your monthly expenses from line 22c of Schedule J..........................................................................                               $                8,745.00

 Part 4:        Answer These Questions for Administrative and Statistical Records

 6.     Are you filing for bankruptcy under Chapters 7, 11, or 13?
            No. You have nothing to report on this part of the form. Check this box and submit this form to the court with your other schedules.

          Yes
 7.     What kind of debt do you have?


               Your debts are primarily consumer debts. Consumer debts are those “incurred by an individual primarily for a personal, family, or
                household purpose.” 11 U.S.C. § 101(8). Fill out lines 8-9g for statistical purposes. 28 U.S.C. § 159.

           Your debts are not primarily consumer debts. You have nothing to report on this part of the form. Check this box and submit this form to
            the court with your other schedules.
 Official Form 106Sum           Summary of Your Assets and Liabilities and Certain Statistical Information                        page 1 of 2
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 Debtor 1      Muhammad Nasir Siddiqi                                                         Case number (if known) 19-42834

 8.    From the Statement of Your Current Monthly Income: Copy your total current monthly income from Official Form
       122A-1 Line 11; OR, Form 122B Line 11; OR, Form 122C-1 Line 14.                                                               $           7,000.00


 9.    Copy the following special categories of claims from Part 4, line 6 of Schedule E/F:

                                                                                                            Total claim
       From Part 4 on Schedule E/F, copy the following:

       9a. Domestic support obligations (Copy line 6a.)                                                      $                0.00

       9b. Taxes and certain other debts you owe the government. (Copy line 6b.)                             $                0.00

       9c. Claims for death or personal injury while you were intoxicated. (Copy line 6c.)                   $                0.00

       9d. Student loans. (Copy line 6f.)                                                                    $                0.00

       9e. Obligations arising out of a separation agreement or divorce that you did not report as
           priority claims. (Copy line 6g.)                                                                  $                0.00

       9f. Debts to pension or profit-sharing plans, and other similar debts. (Copy line 6h.)               +$                0.00


       9g. Total. Add lines 9a through 9f.                                                              $                   0.00




Official Form 106Sum                             Summary of Your Assets and Liabilities and Certain Statistical Information                        page 2 of 2
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 Fill in this information to identify your case and this filing:

 Debtor 1                    Muhammad Nasir Siddiqi
                             First Name                                 Middle Name                    Last Name

 Debtor 2
 (Spouse, if filing)         First Name                                 Middle Name                    Last Name


 United States Bankruptcy Court for the:                      EASTERN DISTRICT OF TEXAS

 Case number            19-42834                                                                                                                                     Check if this is an
                                                                                                                                                                      amended filing



Official Form 106A/B
Schedule A/B: Property                                                                                                                                             12/15
In each category, separately list and describe items. List an asset only once. If an asset fits in more than one category, list the asset in the category where you
think it fits best. Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known).
Answer every question.

 Part 1: Describe Each Residence, Building, Land, or Other Real Estate You Own or Have an Interest In

1. Do you own or have any legal or equitable interest in any residence, building, land, or similar property?

    No. Go to Part 2.
    Yes.      Where is the property?




 1.1                                                                            What is the property? Check all that apply
        6701 Haven Hurst
        Street address, if available, or other description
                                                                                      Single-family home                            Do not deduct secured claims or exemptions. Put
                                                                                       Duplex or multi-unit building                 the amount of any secured claims on Schedule D:
                                                                                                                                    Creditors Who Have Claims Secured by Property.
                                                                                       Condominium or cooperative
                                                                                  
                                                                                      Manufactured or mobile home
                                                                                                                                     Current value of the       Current value of the
        Allen                             TX        75002-0000                        Land                                          entire property?           portion you own?
        City                              State              ZIP Code                 Investment property                                 $735,000.00                   $735,000.00
                                                                                      Timeshare
                                                                                                                                     Describe the nature of your ownership interest
                                                                                      Other                                         (such as fee simple, tenancy by the entireties, or
                                                                                Who has an interest in the property? Check one       a life estate), if known.

                                                                                      Debtor 1 only
        Collin                                                                        Debtor 2 only
        County                                                                        Debtor 1 and Debtor 2 only
                                                                                                                                         Check if this is community property
                                                                                      At least one of the debtors and another
                                                                                                                                        (see instructions)
                                                                                Other information you wish to add about this item, such as local
                                                                                property identification number:




 2. Add the dollar value of the portion you own for all of your entries from Part 1, including any entries for
    pages you have attached for Part 1. Write that number here...........................................................................=>                           $735,000.00


 Part 2: Describe Your Vehicles

Do you own, lease, or have legal or equitable interest in any vehicles, whether they are registered or not? Include any vehicles you own that
someone else drives. If you lease a vehicle, also report it on Schedule G: Executory Contracts and Unexpired Leases.




Official Form 106A/B                                                                  Schedule A/B: Property                                                                       page 1
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 Debtor 1        Muhammad Nasir Siddiqi                                                                             Case number (if known)         19-42834
3. Cars, vans, trucks, tractors, sport utility vehicles, motorcycles

    No
    Yes

  3.1    Make:       Ford                                      Who has an interest in the property? Check one                 Do not deduct secured claims or exemptions. Put
                                                                                                                              the amount of any secured claims on Schedule D:
         Model:      Tahoe                                      Debtor 1 only                                                Creditors Who Have Claims Secured by Property.
         Year:       2016                                       Debtor 2 only                                                Current value of the       Current value of the
         Approximate mileage:                   20000           Debtor 1 and Debtor 2 only                                   entire property?           portion you own?
         Other information:                                     At least one of the debtors and another

                                                                Check if this is community property                                  $20,000.00                  $20,000.00
                                                                     (see instructions)



  3.2    Make:       Ford                                      Who has an interest in the property? Check one                 Do not deduct secured claims or exemptions. Put
                                                                                                                              the amount of any secured claims on Schedule D:
         Model:      Tahoe                                      Debtor 1 only                                                Creditors Who Have Claims Secured by Property.
         Year:       2016                                       Debtor 2 only                                                Current value of the       Current value of the
         Approximate mileage:                   20000           Debtor 1 and Debtor 2 only                                   entire property?           portion you own?
         Other information:                                     At least one of the debtors and another

                                                                Check if this is community property                                  $20,000.00                  $20,000.00
                                                                     (see instructions)



  3.3    Make:       Ford                                      Who has an interest in the property? Check one                 Do not deduct secured claims or exemptions. Put
                                                                                                                              the amount of any secured claims on Schedule D:
         Model:      Super Duty                                 Debtor 1 only                                                Creditors Who Have Claims Secured by Property.
         Year:       2015                                       Debtor 2 only                                                Current value of the       Current value of the
         Approximate mileage:                   50000           Debtor 1 and Debtor 2 only                                   entire property?           portion you own?
         Other information:                                     At least one of the debtors and another

                                                                Check if this is community property                                  $30,000.00                  $30,000.00
                                                                     (see instructions)



  3.4    Make:       Lincoln                                   Who has an interest in the property? Check one                 Do not deduct secured claims or exemptions. Put
                                                                                                                              the amount of any secured claims on Schedule D:
         Model:      Navigator                                  Debtor 1 only                                                Creditors Who Have Claims Secured by Property.
         Year:       2019                                       Debtor 2 only                                                Current value of the       Current value of the
         Approximate mileage:                   10000           Debtor 1 and Debtor 2 only                                   entire property?           portion you own?
         Other information:                                     At least one of the debtors and another

                                                                Check if this is community property                                  $90,000.00                  $90,000.00
                                                                     (see instructions)




4. Watercraft, aircraft, motor homes, ATVs and other recreational vehicles, other vehicles, and accessories
   Examples: Boats, trailers, motors, personal watercraft, fishing vessels, snowmobiles, motorcycle accessories

    No
    Yes


 5 Add the dollar value of the portion you own for all of your entries from Part 2, including any entries for
   .pages you have attached for Part 2. Write that number here.............................................................................=>                  $160,000.00


 Part 3: Describe Your Personal and Household Items
 Do you own or have any legal or equitable interest in any of the following items?                                                                    Current value of the
                                                                                                                                                      portion you own?
                                                                                                                                                      Do not deduct secured
                                                                                                                                                      claims or exemptions.



Official Form 106A/B                                                       Schedule A/B: Property                                                                          page 2
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 Debtor 1       Muhammad Nasir Siddiqi                                                                   Case number (if known)   19-42834
6. Household goods and furnishings
   Examples: Major appliances, furniture, linens, china, kitchenware
    No
     Yes.     Describe.....

                                    sofa, tables, beds, dressers, chairs, rugs, televisions, etc                                                $10,000.00


7. Electronics
   Examples: Televisions and radios; audio, video, stereo, and digital equipment; computers, printers, scanners; music collections; electronic devices
              including cell phones, cameras, media players, games
     No
     Yes.     Describe.....

8. Collectibles of value
   Examples: Antiques and figurines; paintings, prints, or other artwork; books, pictures, or other art objects; stamp, coin, or baseball card collections;
               other collections, memorabilia, collectibles
     No
     Yes.     Describe.....

9. Equipment for sports and hobbies
   Examples: Sports, photographic, exercise, and other hobby equipment; bicycles, pool tables, golf clubs, skis; canoes and kayaks; carpentry tools;
             musical instruments
     No
     Yes.     Describe.....

10. Firearms
     Examples: Pistols, rifles, shotguns, ammunition, and related equipment
    No
     Yes.     Describe.....

                                    1 pistol                                                                                                        $400.00


11. Clothes
    Examples: Everyday clothes, furs, leather coats, designer wear, shoes, accessories
    No
     Yes.     Describe.....

                                    clothes                                                                                                       $1,000.00


12. Jewelry
     Examples: Everyday jewelry, costume jewelry, engagement rings, wedding rings, heirloom jewelry, watches, gems, gold, silver
    No
     Yes.     Describe.....

                                    watch, wifes jewelry                                                                                        $10,000.00


13. Non-farm animals
    Examples: Dogs, cats, birds, horses
     No
     Yes.     Describe.....

14. Any other personal and household items you did not already list, including any health aids you did not list
     No
     Yes.     Give specific information.....


 15. Add the dollar value of all of your entries from Part 3, including any entries for pages you have attached
     for Part 3. Write that number here ..............................................................................                       $21,400.00



Official Form 106A/B                                                 Schedule A/B: Property                                                             page 3
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 Debtor 1          Muhammad Nasir Siddiqi                                                                                            Case number (if known)    19-42834

 Part 4: Describe Your Financial Assets
 Do you own or have any legal or equitable interest in any of the following?                                                                                      Current value of the
                                                                                                                                                                  portion you own?
                                                                                                                                                                  Do not deduct secured
                                                                                                                                                                  claims or exemptions.

16. Cash
    Examples: Money you have in your wallet, in your home, in a safe deposit box, and on hand when you file your petition
     No
     Yes................................................................................................................
17. Deposits of money
    Examples: Checking, savings, or other financial accounts; certificates of deposit; shares in credit unions, brokerage houses, and other similar
                  institutions. If you have multiple accounts with the same institution, list each.
    No
    Yes........................                                     Institution name:


                                              17.1.                                              Chase bank - frozen                                                            Unknown



                                              17.2.                                              Texans Credit Union                                                              $300.00



                                              17.3.                                              Chase Accounts -wifes                                                            $300.00


18. Bonds, mutual funds, or publicly traded stocks
    Examples: Bond funds, investment accounts with brokerage firms, money market accounts
     No
     Yes..................                             Institution or issuer name:

19. Non-publicly traded stock and interests in incorporated and unincorporated businesses, including an interest in an LLC, partnership, and
    joint venture
    No
     Yes.       Give specific information about them...................
                                       Name of entity:                                                                                % of ownership:

                                                  Hiba Entertainment, Inc. - out of business                                               100          %                             $0.00


20. Government and corporate bonds and other negotiable and non-negotiable instruments
    Negotiable instruments include personal checks, cashiers’ checks, promissory notes, and money orders.
    Non-negotiable instruments are those you cannot transfer to someone by signing or delivering them.
     No
     Yes. Give specific information about them
                                                  Issuer name:

21. Retirement or pension accounts
    Examples: Interests in IRA, ERISA, Keogh, 401(k), 403(b), thrift savings accounts, or other pension or profit-sharing plans
     No
     Yes. List each account separately.
                                              Type of account:                                   Institution name:

22. Security deposits and prepayments
    Your share of all unused deposits you have made so that you may continue service or use from a company
    Examples: Agreements with landlords, prepaid rent, public utilities (electric, gas, water), telecommunications companies, or others
     No
     Yes. .....................                                                                 Institution name or individual:

23. Annuities (A contract for a periodic payment of money to you, either for life or for a number of years)
     No
     Yes.............                Issuer name and description.


Official Form 106A/B                                                                      Schedule A/B: Property                                                                      page 4
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 Debtor 1       Muhammad Nasir Siddiqi                                                                    Case number (if known)     19-42834
24. Interests in an education IRA, in an account in a qualified ABLE program, or under a qualified state tuition program.
    26 U.S.C. §§ 530(b)(1), 529A(b), and 529(b)(1).
     No
     Yes.............          Institution name and description. Separately file the records of any interests.11 U.S.C. § 521(c):

25. Trusts, equitable or future interests in property (other than anything listed in line 1), and rights or powers exercisable for your benefit
     No
     Yes.     Give specific information about them...

26. Patents, copyrights, trademarks, trade secrets, and other intellectual property
    Examples: Internet domain names, websites, proceeds from royalties and licensing agreements
     No
     Yes.     Give specific information about them...

27. Licenses, franchises, and other general intangibles
     Examples: Building permits, exclusive licenses, cooperative association holdings, liquor licenses, professional licenses
     No
     Yes.     Give specific information about them...

 Money or property owed to you?                                                                                                        Current value of the
                                                                                                                                       portion you own?
                                                                                                                                       Do not deduct secured
                                                                                                                                       claims or exemptions.

28. Tax refunds owed to you
     No
     Yes. Give specific information about them, including whether you already filed the returns and the tax years.......


29. Family support
     Examples: Past due or lump sum alimony, spousal support, child support, maintenance, divorce settlement, property settlement
     No
     Yes. Give specific information......

30. Other amounts someone owes you
    Examples: Unpaid wages, disability insurance payments, disability benefits, sick pay, vacation pay, workers’ compensation, Social Security
              benefits; unpaid loans you made to someone else
     No
     Yes.     Give specific information..

31. Interests in insurance policies
     Examples: Health, disability, or life insurance; health savings account (HSA); credit, homeowner’s, or renter’s insurance
     No
     Yes. Name the insurance company of each policy and list its value.
                                         Company name:                                           Beneficiary:                           Surrender or refund
                                                                                                                                        value:

32. Any interest in property that is due you from someone who has died
    If you are the beneficiary of a living trust, expect proceeds from a life insurance policy, or are currently entitled to receive property because
    someone has died.
     No
     Yes.     Give specific information..


33. Claims against third parties, whether or not you have filed a lawsuit or made a demand for payment
    Examples: Accidents, employment disputes, insurance claims, or rights to sue
     No
     Yes.     Describe each claim.........

34. Other contingent and unliquidated claims of every nature, including counterclaims of the debtor and rights to set off claims
     No
     Yes.     Describe each claim.........



Official Form 106A/B                                                 Schedule A/B: Property                                                                page 5
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 Debtor 1         Muhammad Nasir Siddiqi                                                                                                Case number (if known)     19-42834
35. Any financial assets you did not already list
     No
     Yes.      Give specific information..


 36. Add the dollar value of all of your entries from Part 4, including any entries for pages you have attached
     for Part 4. Write that number here.....................................................................................................................                       $600.00


 Part 5: Describe Any Business-Related Property You Own or Have an Interest In. List any real estate in Part 1.

37. Do you own or have any legal or equitable interest in any business-related property?
    No. Go to Part 6.
    Yes.     Go to line 38.



 Part 6:    Describe Any Farm- and Commercial Fishing-Related Property You Own or Have an Interest In.
            If you own or have an interest in farmland, list it in Part 1.


46. Do you own or have any legal or equitable interest in any farm- or commercial fishing-related property?
       No. Go to Part 7.
       Yes.      Go to line 47.


 Part 7:          Describe All Property You Own or Have an Interest in That You Did Not List Above


53. Do you have other property of any kind you did not already list?
    Examples: Season tickets, country club membership
     No
     Yes. Give specific information.........

 54. Add the dollar value of all of your entries from Part 7. Write that number here ....................................                                                             $0.00

 Part 8:         List the Totals of Each Part of this Form

 55. Part 1: Total real estate, line 2 ......................................................................................................................                    $735,000.00
 56. Part 2: Total vehicles, line 5                                                                         $160,000.00
 57. Part 3: Total personal and household items, line 15                                                     $21,400.00
 58. Part 4: Total financial assets, line 36                                                                   $600.00
 59. Part 5: Total business-related property, line 45                                                             $0.00
 60. Part 6: Total farm- and fishing-related property, line 52                                                    $0.00
 61. Part 7: Total other property not listed, line 54                                             +               $0.00

 62. Total personal property. Add lines 56 through 61...                                                    $182,000.00               Copy personal property total                $182,000.00

 63. Total of all property on Schedule A/B. Add line 55 + line 62                                                                                                              $917,000.00




Official Form 106A/B                                                               Schedule A/B: Property                                                                                  page 6
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 Fill in this information to identify your case:

 Debtor 1                 Muhammad Nasir Siddiqi
                          First Name                        Middle Name                     Last Name

 Debtor 2
 (Spouse if, filing)      First Name                        Middle Name                     Last Name


 United States Bankruptcy Court for the:              EASTERN DISTRICT OF TEXAS

 Case number           19-42834
 (if known)
                                                                                                                                           Check if this is an
                                                                                                                                            amended filing


Official Form 106C
Schedule C: The Property You Claim as Exempt                                                                                                                      4/19

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. Using
the property you listed on Schedule A/B: Property (Official Form 106A/B) as your source, list the property that you claim as exempt. If more space is
needed, fill out and attach to this page as many copies of Part 2: Additional Page as necessary. On the top of any additional pages, write your name and
case number (if known).

For each item of property you claim as exempt, you must specify the amount of the exemption you claim. One way of doing so is to state a
specific dollar amount as exempt. Alternatively, you may claim the full fair market value of the property being exempted up to the amount of
any applicable statutory limit. Some exemptions—such as those for health aids, rights to receive certain benefits, and tax-exempt retirement
funds—may be unlimited in dollar amount. However, if you claim an exemption of 100% of fair market value under a law that limits the
exemption to a particular dollar amount and the value of the property is determined to exceed that amount, your exemption would be limited
to the applicable statutory amount.

 Part 1:        Identify the Property You Claim as Exempt

 1. Which set of exemptions are you claiming? Check one only, even if your spouse is filing with you.

       You are claiming state and federal nonbankruptcy exemptions.                  11 U.S.C. § 522(b)(3)

       You are claiming federal exemptions.             11 U.S.C. § 522(b)(2)

 2. For any property you list on Schedule A/B that you claim as exempt, fill in the information below.
      Brief description of the property and line on            Current value of the     Amount of the exemption you claim        Specific laws that allow exemption
      Schedule A/B that lists this property                    portion you own
                                                               Copy the value from      Check only one box for each exemption.
                                                               Schedule A/B

      6701 Haven Hurst Allen, TX 75002                                                                                           Tex. Const. art. XVI, §§ 50, 51,
      Collin County
                                                                     $735,000.00                                       $0.00
                                                                                                                                 Tex. Prop. Code §§
      Line from Schedule A/B: 1.1                                                            100% of fair market value, up to   41.001-.002
                                                                                              any applicable statutory limit

      2016 Ford Tahoe 20000 miles                                                                                                Tex. Prop. Code §§
      Line from Schedule A/B: 3.1
                                                                      $20,000.00                                  $1,000.00
                                                                                                                                 42.001(a)(1), (2), 42.002(a)(9)
                                                                                             100% of fair market value, up to
                                                                                              any applicable statutory limit

      sofa, tables, beds, dressers, chairs,                                                                                      Tex. Prop. Code §§
      rugs, televisions, etc
                                                                      $10,000.00                                $10,000.00
                                                                                                                                 42.001(a)(1), (2), 42.002(a)(1)
      Line from Schedule A/B: 6.1                                                            100% of fair market value, up to
                                                                                              any applicable statutory limit

      1 pistol                                                                                                                   Tex. Prop. Code §§
      Line from Schedule A/B: 10.1
                                                                          $400.00                                   $400.00
                                                                                                                                 42.001(a)(1), (2), 42.002(a)(7)
                                                                                             100% of fair market value, up to
                                                                                              any applicable statutory limit

      clothes                                                                                                                    Tex. Prop. Code §§
      Line from Schedule A/B: 11.1
                                                                       $1,000.00                                  $1,000.00
                                                                                                                                 42.001(a)(1), (2), 42.002(a)(5)
                                                                                             100% of fair market value, up to
                                                                                              any applicable statutory limit




Official Form 106C                                      Schedule C: The Property You Claim as Exempt                                                        page 1 of 2
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 Debtor 1    Muhammad Nasir Siddiqi                                                                      Case number (if known)     19-42834
     Brief description of the property and line on             Current value of the   Amount of the exemption you claim           Specific laws that allow exemption
     Schedule A/B that lists this property                     portion you own
                                                               Copy the value from    Check only one box for each exemption.
                                                               Schedule A/B

     watch, wifes jewelry                                                                                                         Tex. Prop. Code §§
     Line from Schedule A/B: 12.1
                                                                     $10,000.00                               $10,000.00
                                                                                                                                  42.001(a)(1), (2), 42.002(a)(6)
                                                                                          100% of fair market value, up to
                                                                                           any applicable statutory limit


 3. Are you claiming a homestead exemption of more than $170,350?
    (Subject to adjustment on 4/01/22 and every 3 years after that for cases filed on or after the date of adjustment.)
           No
           Yes. Did you acquire the property covered by the exemption within 1,215 days before you filed this case?
                  No
                  Yes




Official Form 106C                                      Schedule C: The Property You Claim as Exempt                                                         page 2 of 2
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 Fill in this information to identify your case:

 Debtor 1                   Muhammad Nasir Siddiqi
                            First Name                         Middle Name                     Last Name

 Debtor 2
 (Spouse if, filing)        First Name                         Middle Name                     Last Name


 United States Bankruptcy Court for the:                EASTERN DISTRICT OF TEXAS

 Case number           19-42834
 (if known)
                                                                                                                                                  Check if this is an
                                                                                                                                                   amended filing

Official Form 106D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                                          12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. If more space
is needed, copy the Additional Page, fill it out, number the entries, and attach it to this form. On the top of any additional pages, write your name and case
number (if known).
1. Do any creditors have claims secured by your property?
        No. Check this box and submit this form to the court with your other schedules. You have nothing else to report on this form.
        Yes. Fill in all of the information below.
 Part 1:        List All Secured Claims
                                                                                                             Column A               Column B                Column C
 2. List all secured claims. If a creditor has more than one secured claim, list the creditor separately
 for each claim. If more than one creditor has a particular claim, list the other creditors in Part 2. As    Amount of claim        Value of collateral     Unsecured
 much as possible, list the claims in alphabetical order according to the creditor’s name.                   Do not deduct the      that supports this      portion
                                                                                                             value of collateral.   claim                   If any
 2.1     Affiliated Bank                             Describe the property that secures the claim:             $550,000.00               $735,000.00                     $0.00
         Creditor's Name                             6701 Haven Hurst Allen, TX 75002
                                                     Collin County
                                                     As of the date you file, the claim is: Check all that
         P.O. Box 77408                              apply.
         Trenton, NJ 08628                            Contingent
         Number, Street, City, State & Zip Code       Unliquidated
                                                      Disputed
 Who owes the debt? Check one.                       Nature of lien. Check all that apply.
  Debtor 1 only                                      An agreement you made (such as mortgage or secured
                                                           car loan)
  Debtor 2 only
  Debtor 1 and Debtor 2 only                         Statutory lien (such as tax lien, mechanic's lien)
  At least one of the debtors and another            Judgment lien from a lawsuit
  Check if this claim relates to a                   Other (including a right to offset)
       community debt

 Date debt was incurred                                       Last 4 digits of account number


 2.2     BB&T                                        Describe the property that secures the claim:               $32,000.00               $30,000.00            $2,000.00
         Creditor's Name                             2015 Ford Super Duty 50000 miles

                                                     As of the date you file, the claim is: Check all that
         P.O. Box 650657                             apply.
         Dallas, TX 75265                             Contingent
         Number, Street, City, State & Zip Code       Unliquidated
                                                      Disputed
 Who owes the debt? Check one.                       Nature of lien. Check all that apply.
  Debtor 1 only                                      An agreement you made (such as mortgage or secured
                                                           car loan)
  Debtor 2 only
  Debtor 1 and Debtor 2 only                         Statutory lien (such as tax lien, mechanic's lien)
  At least one of the debtors and another            Judgment lien from a lawsuit
  Check if this claim relates to a                   Other (including a right to offset)
       community debt

 Date debt was incurred                                       Last 4 digits of account number




Official Form 106D                                  Schedule D: Creditors Who Have Claims Secured by Property                                                     page 1 of 3
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 Debtor 1 Muhammad Nasir Siddiqi                                                                            Case number (if known)    19-42834
              First Name                  Middle Name                      Last Name


 2.3    Candence Bank                               Describe the property that secures the claim:                 $225,000.00          $735,000.00        $40,000.00
        Creditor's Name                             6701 Haven Hurst Allen, TX 75002
                                                    Collin County
                                                    As of the date you file, the claim is: Check all that
        P.O. Box 4931                               apply.
        Houston, TX 77210                            Contingent
        Number, Street, City, State & Zip Code       Unliquidated
                                                     Disputed
 Who owes the debt? Check one.                      Nature of lien. Check all that apply.
  Debtor 1 only                                     An agreement you made (such as mortgage or secured
                                                          car loan)
  Debtor 2 only
  Debtor 1 and Debtor 2 only                        Statutory lien (such as tax lien, mechanic's lien)
  At least one of the debtors and another           Judgment lien from a lawsuit
  Check if this claim relates to a                  Other (including a right to offset)
       community debt

 Date debt was incurred                                      Last 4 digits of account number


 2.4    Lincoln Financial                           Describe the property that secures the claim:                 $129,000.00           $90,000.00        $39,000.00
        Creditor's Name                             2019 Lincoln Navigator 10000 miles

                                                    As of the date you file, the claim is: Check all that
        P.O. Box 790119                             apply.
        Saint Louis, MO 63179                        Contingent
        Number, Street, City, State & Zip Code       Unliquidated
                                                     Disputed
 Who owes the debt? Check one.                      Nature of lien. Check all that apply.
  Debtor 1 only                                     An agreement you made (such as mortgage or secured
                                                          car loan)
  Debtor 2 only
  Debtor 1 and Debtor 2 only                        Statutory lien (such as tax lien, mechanic's lien)
  At least one of the debtors and another           Judgment lien from a lawsuit
  Check if this claim relates to a                  Other (including a right to offset)
       community debt

 Date debt was incurred                                      Last 4 digits of account number


 2.5    TD Auto Finance                             Describe the property that secures the claim:                  $20,678.00           $20,000.00            $678.00
        Creditor's Name                             2016 Ford Tahoe 20000 miles

                                                    As of the date you file, the claim is: Check all that
        P.O. Box 100295                             apply.
        Columbia, SC 29202                           Contingent
        Number, Street, City, State & Zip Code       Unliquidated
                                                     Disputed
 Who owes the debt? Check one.                      Nature of lien. Check all that apply.
  Debtor 1 only                                     An agreement you made (such as mortgage or secured
                                                          car loan)
  Debtor 2 only
  Debtor 1 and Debtor 2 only                        Statutory lien (such as tax lien, mechanic's lien)
  At least one of the debtors and another           Judgment lien from a lawsuit
  Check if this claim relates to a                  Other (including a right to offset)
       community debt

 Date debt was incurred                                      Last 4 digits of account number




Official Form 106D                     Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                           page 2 of 3
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 Debtor 1 Muhammad Nasir Siddiqi                                                                            Case number (if known)    19-42834
              First Name                  Middle Name                      Last Name


 2.6    US Bank                                     Describe the property that secures the claim:                  $19,771.85           $20,000.00                $0.00
        Creditor's Name                             2016 Ford Tahoe 20000 miles

                                                    As of the date you file, the claim is: Check all that
        P.o. Box 790408                             apply.
        Saint Louis, MO 63179                        Contingent
        Number, Street, City, State & Zip Code       Unliquidated
                                                     Disputed
 Who owes the debt? Check one.                      Nature of lien. Check all that apply.
  Debtor 1 only                                     An agreement you made (such as mortgage or secured
                                                          car loan)
  Debtor 2 only
  Debtor 1 and Debtor 2 only                        Statutory lien (such as tax lien, mechanic's lien)
  At least one of the debtors and another           Judgment lien from a lawsuit
  Check if this claim relates to a                  Other (including a right to offset)
       community debt

 Date debt was incurred                                      Last 4 digits of account number



   Add the dollar value of your entries in Column A on this page. Write that number here:                                 $976,449.85
   If this is the last page of your form, add the dollar value totals from all pages.
   Write that number here:                                                                                                $976,449.85

 Part 2:    List Others to Be Notified for a Debt That You Already Listed
 Use this page only if you have others to be notified about your bankruptcy for a debt that you already listed in Part 1. For example, if a collection agency is
 trying to collect from you for a debt you owe to someone else, list the creditor in Part 1, and then list the collection agency here. Similarly, if you have more
 than one creditor for any of the debts that you listed in Part 1, list the additional creditors here. If you do not have additional persons to be notified for any
 debts in Part 1, do not fill out or submit this page.




Official Form 106D                     Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                           page 3 of 3
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 Fill in this information to identify your case:

 Debtor 1                  Muhammad Nasir Siddiqi
                           First Name                       Middle Name                       Last Name

 Debtor 2
 (Spouse if, filing)       First Name                       Middle Name                       Last Name


 United States Bankruptcy Court for the:              EASTERN DISTRICT OF TEXAS

 Case number           19-42834
 (if known)
                                                                                                                                                         Check if this is an
                                                                                                                                                          amended filing

Official Form 106E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                                     12/15
Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY claims and Part 2 for creditors with NONPRIORITY claims. List the other party to
any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Property (Official Form 106A/B) and on
Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G). Do not include any creditors with partially secured claims that are listed in
Schedule D: Creditors Who Have Claims Secured by Property. If more space is needed, copy the Part you need, fill it out, number the entries in the boxes on the
left. Attach the Continuation Page to this page. If you have no information to report in a Part, do not file that Part. On the top of any additional pages, write your
name and case number (if known).
 Part 1:        List All of Your PRIORITY Unsecured Claims
 1.    Do any creditors have priority unsecured claims against you?

        No. Go to Part 2.
        Yes.

 Part 2:        List All of Your NONPRIORITY Unsecured Claims
 3.    Do any creditors have nonpriority unsecured claims against you?

        No. You have nothing to report in this part. Submit this form to the court with your other schedules.
        Yes.
 4.    List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one nonpriority
       unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already included in Part 1. If more
       than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured claims fill out the Continuation Page of
       Part 2.
                                                                                                                                                              Total claim

 4.1          American Express                                        Last 4 digits of account number                                                                     $9,196.00
              Nonpriority Creditor's Name
              PO BOX 650448                                           When was the debt incurred?
              DALLAS, TX 75265
              Number Street City State Zip Code                       As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.

               Debtor 1 only                                          Contingent
               Debtor 2 only                                          Unliquidated
               Debtor 1 and Debtor 2 only                             Disputed
               At least one of the debtors and another               Type of NONPRIORITY unsecured claim:

               Check if this claim is for a community                 Student loans
              debt                                                     Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                         report as priority claims

               No                                                     Debts to pension or profit-sharing plans, and other similar debts
               Yes                                                    Other. Specify     business debt




Official Form 106 E/F                                    Schedule E/F: Creditors Who Have Unsecured Claims                                                                   Page 1 of 8
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 Debtor 1 Muhammad Nasir Siddiqi                                                                         Case number (if known)        19-42834

 4.2      Bank Of America                                            Last 4 digits of account number                                                         $16,000.00
          Nonpriority Creditor's Name
          PO BOX 851001                                              When was the debt incurred?
          DALLAS, TX 75381
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

           Debtor 1 only                                             Contingent
           Debtor 2 only                                             Unliquidated
           Debtor 1 and Debtor 2 only                                Disputed
           At least one of the debtors and another                  Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community                    Student loans
          debt                                                        Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

           No                                                        Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                       Other. Specify

 4.3      Biorev, LLC                                                Last 4 digits of account number                                                         $40,000.00
          Nonpriority Creditor's Name
          400 E Royal Lane                                           When was the debt incurred?
          Suite 290
          Irving, TX 75039
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

           Debtor 1 only                                             Contingent
           Debtor 2 only                                             Unliquidated
           Debtor 1 and Debtor 2 only                                Disputed
           At least one of the debtors and another                  Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community                    Student loans
          debt                                                        Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

           No                                                        Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                       Other. Specify     business debt


 4.4      Chase Card                                                 Last 4 digits of account number                                                         $16,000.00
          Nonpriority Creditor's Name
          Hiba Entertainnent card                                    When was the debt incurred?
          Cardmember Service
          PO BOX 6294
          CAROL STREAM, IL 60197
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

           Debtor 1 only                                             Contingent
           Debtor 2 only                                             Unliquidated
           Debtor 1 and Debtor 2 only                                Disputed
           At least one of the debtors and another                  Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community                    Student loans
          debt                                                        Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

           No                                                        Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                       Other. Specify     busness debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                         Page 2 of 8
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 Debtor 1 Muhammad Nasir Siddiqi                                                                         Case number (if known)        19-42834

 4.5      Citi Advantage AA                                          Last 4 digits of account number                                                         $24,000.00
          Nonpriority Creditor's Name
          Citi Business Card                                         When was the debt incurred?
          PO BOX 9001037
          Louisville, KY 40290
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

           Debtor 1 only                                             Contingent
           Debtor 2 only                                             Unliquidated
           Debtor 1 and Debtor 2 only                                Disputed
           At least one of the debtors and another                  Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community                    Student loans
          debt                                                        Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

           No                                                        Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                       Other. Specify     business debt


 4.6      Citi Card                                                  Last 4 digits of account number                                                           $2,000.00
          Nonpriority Creditor's Name
          PO BOX 78045                                               When was the debt incurred?
          PHOENIX, AZ 85062
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

           Debtor 1 only                                             Contingent
           Debtor 2 only                                             Unliquidated
           Debtor 1 and Debtor 2 only                                Disputed
           At least one of the debtors and another                  Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community                    Student loans
          debt                                                        Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

           No                                                        Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                       Other. Specify

 4.7      Discover Card                                              Last 4 digits of account number                                                         $22,000.00
          Nonpriority Creditor's Name
          PO BOX 790213                                              When was the debt incurred?
          ST. LOUIS, MO 63179
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

           Debtor 1 only                                             Contingent
           Debtor 2 only                                             Unliquidated
           Debtor 1 and Debtor 2 only                                Disputed
           At least one of the debtors and another                  Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community                    Student loans
          debt                                                        Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

           No                                                        Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                       Other. Specify     business debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                         Page 3 of 8
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 Debtor 1 Muhammad Nasir Siddiqi                                                                         Case number (if known)        19-42834

 4.8      Dish Network                                               Last 4 digits of account number                                                             $250.00
          Nonpriority Creditor's Name
          131 Tower Park Dr.                                         When was the debt incurred?
          Ste. 100
          Waterloo, IA 50701
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

           Debtor 1 only                                             Contingent
           Debtor 2 only                                             Unliquidated
           Debtor 1 and Debtor 2 only                                Disputed
           At least one of the debtors and another                  Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community                    Student loans
          debt                                                        Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

           No                                                        Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                       Other. Specify

 4.9      Firoz Samdhani                                             Last 4 digits of account number                                                         $66,000.00
          Nonpriority Creditor's Name
          11076 Harry Hines                                          When was the debt incurred?
          Dallas, TX 75229
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

           Debtor 1 only                                             Contingent
           Debtor 2 only                                             Unliquidated
           Debtor 1 and Debtor 2 only                                Disputed
           At least one of the debtors and another                  Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community                    Student loans
          debt                                                        Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

           No                                                        Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                       Other. Specify     busienss debt


 4.1
 0        Loopimation                                                Last 4 digits of account number                                                         $40,000.00
          Nonpriority Creditor's Name
          400 E Royal                                                When was the debt incurred?
          Suite 290
          Irving, TX 75039
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

           Debtor 1 only                                             Contingent
           Debtor 2 only                                             Unliquidated
           Debtor 1 and Debtor 2 only                                Disputed
           At least one of the debtors and another                  Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community                    Student loans
          debt                                                        Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

           No                                                        Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                       Other. Specify     business debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                         Page 4 of 8
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 Debtor 1 Muhammad Nasir Siddiqi                                                                         Case number (if known)        19-42834

 4.1
 1        Nabeel Siddiqi                                             Last 4 digits of account number                                                           Unknown
          Nonpriority Creditor's Name
          1284 Crocket Drive                                         When was the debt incurred?
          Frisco, TX 75033
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

           Debtor 1 only                                             Contingent
           Debtor 2 only                                             Unliquidated
           Debtor 1 and Debtor 2 only                                Disputed
           At least one of the debtors and another                  Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community                    Student loans
          debt                                                        Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

           No                                                        Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                       Other. Specify

 4.1
 2        Natwar Thakkar                                             Last 4 digits of account number                                                           Unknown
          Nonpriority Creditor's Name
          239 US 22                                                  When was the debt incurred?
          Dunellen, NJ 08812
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

           Debtor 1 only                                             Contingent
           Debtor 2 only                                             Unliquidated
           Debtor 1 and Debtor 2 only                                Disputed
           At least one of the debtors and another                  Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community                    Student loans
          debt                                                        Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

           No                                                        Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                       Other. Specify

 4.1
 3        Nebraska Funiture Mart Inc.                                Last 4 digits of account number                                                           $6,000.00
          Nonpriority Creditor's Name
          7718 Springdale Rd.                                        When was the debt incurred?
          Austin, TX 78724
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

           Debtor 1 only                                             Contingent
           Debtor 2 only                                             Unliquidated
           Debtor 1 and Debtor 2 only                                Disputed
           At least one of the debtors and another                  Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community                    Student loans
          debt                                                        Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

           No                                                        Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                       Other. Specify




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                         Page 5 of 8
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 Debtor 1 Muhammad Nasir Siddiqi                                                                         Case number (if known)        19-42834

 4.1
 4        Pay pal                                                    Last 4 digits of account number                                                           $2,500.00
          Nonpriority Creditor's Name
          P.O. Box 71202                                             When was the debt incurred?
          Charlotte, NC 28272
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

           Debtor 1 only                                             Contingent
           Debtor 2 only                                             Unliquidated
           Debtor 1 and Debtor 2 only                                Disputed
           At least one of the debtors and another                  Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community                    Student loans
          debt                                                        Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

           No                                                        Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                       Other. Specify

 4.1
 5        Reliable Chevrolet                                         Last 4 digits of account number                                                           $2,500.00
          Nonpriority Creditor's Name
          800 N Central Expressway                                   When was the debt incurred?
          Richardson, TX 75080
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

           Debtor 1 only                                             Contingent
           Debtor 2 only                                             Unliquidated
           Debtor 1 and Debtor 2 only                                Disputed
           At least one of the debtors and another                  Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community                    Student loans
          debt                                                        Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

           No                                                        Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                       Other. Specify

 4.1
 6        Ropel Enterprises                                          Last 4 digits of account number                                                        $722,086.55
          Nonpriority Creditor's Name
          4131 N Central Expressway                                  When was the debt incurred?
          Suite 1000
          Dallas, TX 75204
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

           Debtor 1 only                                             Contingent
           Debtor 2 only                                             Unliquidated
           Debtor 1 and Debtor 2 only                                Disputed
           At least one of the debtors and another                  Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community                    Student loans
          debt                                                        Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

           No                                                        Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                       Other. Specify     business debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                         Page 6 of 8
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 Debtor 1 Muhammad Nasir Siddiqi                                                                         Case number (if known)        19-42834

 4.1
 7        Roshni Production                                          Last 4 digits of account number                                                           Unknown
          Nonpriority Creditor's Name
          239 US 22`                                                 When was the debt incurred?
          Dunellen, NJ 08812
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

           Debtor 1 only                                             Contingent
           Debtor 2 only                                             Unliquidated
           Debtor 1 and Debtor 2 only                                Disputed
           At least one of the debtors and another                  Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community                    Student loans
          debt                                                        Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

           No                                                        Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                       Other. Specify

 4.1
 8        Roshni Thukkar                                             Last 4 digits of account number                                                           Unknown
          Nonpriority Creditor's Name
          239 US 22                                                  When was the debt incurred?
          Dunellen, NJ 08812
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

           Debtor 1 only                                             Contingent
           Debtor 2 only                                             Unliquidated
           Debtor 1 and Debtor 2 only                                Disputed
           At least one of the debtors and another                  Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community                    Student loans
          debt                                                        Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

           No                                                        Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                       Other. Specify

 4.1
 9        Sagar Gupta                                                Last 4 digits of account number                                                         $40,000.00
          Nonpriority Creditor's Name
          400 Royal Lane                                             When was the debt incurred?
          Suite 290
          Irving, TX 75039
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

           Debtor 1 only                                             Contingent
           Debtor 2 only                                             Unliquidated
           Debtor 1 and Debtor 2 only                                Disputed
           At least one of the debtors and another                  Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community                    Student loans
          debt                                                        Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

           No                                                        Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                       Other. Specify     business debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                         Page 7 of 8
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 Debtor 1 Muhammad Nasir Siddiqi                                                                         Case number (if known)        19-42834

 4.2
 0         Simmons Bank                                              Last 4 digits of account number                                                             Unknown
           Nonpriority Creditor's Name
           PO BOX 7009                                               When was the debt incurred?
           PINE BLUFF, AR 71611
           Number Street City State Zip Code                         As of the date you file, the claim is: Check all that apply
           Who incurred the debt? Check one.

            Debtor 1 only                                            Contingent
            Debtor 2 only                                            Unliquidated
            Debtor 1 and Debtor 2 only                               Disputed
            At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

            Check if this claim is for a community                   Student loans
           debt                                                       Obligations arising out of a separation agreement or divorce that you did not
           Is the claim subject to offset?                           report as priority claims

            No                                                       Debts to pension or profit-sharing plans, and other similar debts
            Yes                                                      Other. Specify

 Part 3:       List Others to Be Notified About a Debt That You Already Listed
5. Use this page only if you have others to be notified about your bankruptcy, for a debt that you already listed in Parts 1 or 2. For example, if a collection agency
   is trying to collect from you for a debt you owe to someone else, list the original creditor in Parts 1 or 2, then list the collection agency here. Similarly, if you
   have more than one creditor for any of the debts that you listed in Parts 1 or 2, list the additional creditors here. If you do not have additional persons to be
   notified for any debts in Parts 1 or 2, do not fill out or submit this page.

 Part 4:       Add the Amounts for Each Type of Unsecured Claim
6. Total the amounts of certain types of unsecured claims. This information is for statistical reporting purposes only. 28 U.S.C. §159. Add the amounts for each
   type of unsecured claim.

                                                                                                                               Total Claim
                        6a.   Domestic support obligations                                                 6a.       $                          0.00
 Total
 claims
 from Part 1            6b.   Taxes and certain other debts you owe the government                         6b.       $                          0.00
                        6c.   Claims for death or personal injury while you were intoxicated               6c.       $                          0.00
                        6d.   Other. Add all other priority unsecured claims. Write that amount here.      6d.       $                          0.00

                        6e.   Total Priority. Add lines 6a through 6d.                                     6e.       $                          0.00

                                                                                                                               Total Claim
                        6f.   Student loans                                                                6f.       $                          0.00
 Total
 claims
 from Part 2            6g.   Obligations arising out of a separation agreement or divorce that
                              you did not report as priority claims                                        6g.       $                          0.00
                        6h.   Debts to pension or profit-sharing plans, and other similar debts            6h.       $                          0.00
                        6i.   Other. Add all other nonpriority unsecured claims. Write that amount         6i.
                              here.                                                                                  $               1,008,532.55

                        6j.   Total Nonpriority. Add lines 6f through 6i.                                  6j.       $               1,008,532.55




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                           Page 8 of 8
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 Fill in this information to identify your case:

 Debtor 1                 Muhammad Nasir Siddiqi
                          First Name                         Middle Name                   Last Name

 Debtor 2
 (Spouse if, filing)      First Name                         Middle Name                   Last Name


 United States Bankruptcy Court for the:              EASTERN DISTRICT OF TEXAS

 Case number           19-42834
 (if known)
                                                                                                                                              Check if this is an
                                                                                                                                               amended filing



Official Form 106G
Schedule G: Executory Contracts and Unexpired Leases                                                                                                           12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, copy the additional page, fill it out, number the entries, and attach it to this page. On the top of any
additional pages, write your name and case number (if known).

1.      Do you have any executory contracts or unexpired leases?
         No. Check this box and file this form with the court with your other schedules.              You have nothing else to report on this form.
         Yes. Fill in all of the information below even if the contacts of leases are listed on Schedule A/B:Property (Official Form 106 A/B).
2.      List separately each person or company with whom you have the contract or lease. Then state what each contract or lease is for (for
        example, rent, vehicle lease, cell phone). See the instructions for this form in the instruction booklet for more examples of executory contracts
        and unexpired leases.


         Person or company with whom you have the contract or lease                          State what the contract or lease is for
                          Name, Number, Street, City, State and ZIP Code
  2.1
           Name


           Number       Street

           City                                    State                   ZIP Code
  2.2
           Name


           Number       Street

           City                                    State                   ZIP Code
  2.3
           Name


           Number       Street

           City                                    State                   ZIP Code
  2.4
           Name


           Number       Street

           City                                    State                   ZIP Code
  2.5
           Name


           Number       Street

           City                                    State                   ZIP Code




Official Form 106G                                Schedule G: Executory Contracts and Unexpired Leases                                                        Page 1 of 1
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 Fill in this information to identify your case:

 Debtor 1                   Muhammad Nasir Siddiqi
                            First Name                           Middle Name                  Last Name

 Debtor 2
 (Spouse if, filing)        First Name                           Middle Name                  Last Name


 United States Bankruptcy Court for the:                  EASTERN DISTRICT OF TEXAS

 Case number            19-42834
 (if known)
                                                                                                                                              Check if this is an
                                                                                                                                               amended filing


Official Form 106H
Schedule H: Your Codebtors                                                                                                                                     12/15

Codebtors are people or entities who are also liable for any debts you may have. Be as complete and accurate as possible. If two married
people are filing together, both are equally responsible for supplying correct information. If more space is needed, copy the Additional Page,
fill it out, and number the entries in the boxes on the left. Attach the Additional Page to this page. On the top of any Additional Pages, write
your name and case number (if known). Answer every question.

       1. Do you have any codebtors? (If you are filing a joint case, do not list either spouse as a codebtor.

       No
       Yes
       2. Within the last 8 years, have you lived in a community property state or territory? (Community property states and territories include
       Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, and Wisconsin.)

       No. Go to line 3.
       Yes. Did your spouse, former spouse, or legal equivalent live with you at the time?
                 No
                 Yes.

                        In which community state or territory did you live?                   -NONE-            . Fill in the name and current address of that person.


                        Name of your spouse, former spouse, or legal equivalent
                        Number, Street, City, State & Zip Code

   3. In Column 1, list all of your codebtors. Do not include your spouse as a codebtor if your spouse is filing with you. List the person shown
      in line 2 again as a codebtor only if that person is a guarantor or cosigner. Make sure you have listed the creditor on Schedule D (Official
      Form 106D), Schedule E/F (Official Form 106E/F), or Schedule G (Official Form 106G). Use Schedule D, Schedule E/F, or Schedule G to fill
      out Column 2.

                Column 1: Your codebtor                                                                         Column 2: The creditor to whom you owe the debt
                Name, Number, Street, City, State and ZIP Code                                                  Check all schedules that apply:


    3.1         Hiba Entertainmnet, Inc                                                                          Schedule D, line
                                                                                                                 Schedule E/F, line
                                                                                                                 Schedule G
                                                                                                                all business debt




Official Form 106H                                                                      Schedule H: Your Codebtors                                          Page 1 of 1
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Fill in this information to identify your case:

Debtor 1                      Muhammad Nasir Siddiqi

Debtor 2
(Spouse, if filing)

United States Bankruptcy Court for the:       EASTERN DISTRICT OF TEXAS

Case number               19-42834                                                                            Check if this is:
(If known)
                                                                                                                 An amended filing
                                                                                                                 A supplement showing postpetition chapter
                                                                                                                  13 income as of the following date:

Official Form 106I                                                                                                MM / DD/ YYYY
Schedule I: Your Income                                                                                                                                    12/15
Be as complete and accurate as possible. If two married people are filing together (Debtor 1 and Debtor 2), both are equally responsible for
supplying correct information. If you are married and not filing jointly, and your spouse is living with you, include information about your
spouse. If you are separated and your spouse is not filing with you, do not include information about your spouse. If more space is needed,
attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every question.

Part 1:               Describe Employment

1.     Fill in your employment
       information.                                                   Debtor 1                                       Debtor 2 or non-filing spouse

       If you have more than one job,                                  Employed                                      Employed
       attach a separate page with           Employment status
       information about additional                                    Not employed                                  Not employed
       employers.
                                             Occupation               security
       Include part-time, seasonal, or
       self-employed work.                   Employer's name          Eagle Protective Group

       Occupation may include student        Employer's address
                                                                      P.O. Box 814392
       or homemaker, if it applies.
                                                                      Dallas, TX 75234

                                             How long employed there?

Part 2:               Give Details About Monthly Income

Estimate monthly income as of the date you file this form. If you have nothing to report for any line, write $0 in the space. Include your non-filing
spouse unless you are separated.

If you or your non-filing spouse have more than one employer, combine the information for all employers for that person on the lines below. If you need
more space, attach a separate sheet to this form.

                                                                                                            For Debtor 1           For Debtor 2 or
                                                                                                                                   non-filing spouse

       List monthly gross wages, salary, and commissions (before all payroll
2.     deductions). If not paid monthly, calculate what the monthly wage would be.              2.      $         7,000.00         $               N/A

3.     Estimate and list monthly overtime pay.                                                  3.    +$               0.00        +$              N/A

4.     Calculate gross Income. Add line 2 + line 3.                                             4.      $      7,000.00                $          N/A




Official Form 106I                                                        Schedule I: Your Income                                                        page 1
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Debtor 1   Muhammad Nasir Siddiqi                                                                  Case number (if known)    19-42834


                                                                                                       For Debtor 1           For Debtor 2 or
                                                                                                                              non-filing spouse
     Copy line 4 here                                                                       4.         $      7,000.00        $             N/A

5.   List all payroll deductions:
     5a.    Tax, Medicare, and Social Security deductions                                   5a.        $      1,717.24        $                  N/A
     5b.    Mandatory contributions for retirement plans                                    5b.        $          0.00        $                  N/A
     5c.    Voluntary contributions for retirement plans                                    5c.        $          0.00        $                  N/A
     5d.    Required repayments of retirement fund loans                                    5d.        $          0.00        $                  N/A
     5e.    Insurance                                                                       5e.        $          0.00        $                  N/A
     5f.    Domestic support obligations                                                    5f.        $          0.00        $                  N/A
     5g.    Union dues                                                                      5g.        $          0.00        $                  N/A
     5h.    Other deductions. Specify:                                                      5h.+       $          0.00 +      $                  N/A
6.   Add the payroll deductions. Add lines 5a+5b+5c+5d+5e+5f+5g+5h.                         6.      $         1,717.24        $                  N/A
7.   Calculate total monthly take-home pay. Subtract line 6 from line 4.                    7.      $         5,282.76        $                  N/A
8.   List all other income regularly received:
     8a. Net income from rental property and from operating a business,
            profession, or farm
            Attach a statement for each property and business showing gross
            receipts, ordinary and necessary business expenses, and the total
            monthly net income.                                                             8a.        $              0.00    $                  N/A
     8b. Interest and dividends                                                             8b.        $              0.00    $                  N/A
     8c. Family support payments that you, a non-filing spouse, or a dependent
            regularly receive
            Include alimony, spousal support, child support, maintenance, divorce
            settlement, and property settlement.                                            8c.        $              0.00    $                  N/A
     8d. Unemployment compensation                                                          8d.        $              0.00    $                  N/A
     8e. Social Security                                                                    8e.        $              0.00    $                  N/A
     8f.    Other government assistance that you regularly receive
            Include cash assistance and the value (if known) of any non-cash assistance
            that you receive, such as food stamps (benefits under the Supplemental
            Nutrition Assistance Program) or housing subsidies.
            Specify:                                                                        8f.  $                    0.00   $                   N/A
     8g. Pension or retirement income                                                       8g. $                     0.00   $                   N/A
     8h. Other monthly income. Specify:                                                     8h.+ $                    0.00 + $                   N/A

9.   Add all other income. Add lines 8a+8b+8c+8d+8e+8f+8g+8h.                               9.     $                  0.00    $                  N/A

10. Calculate monthly income. Add line 7 + line 9.                                    10. $                5,282.76 + $             N/A = $            5,282.76
    Add the entries in line 10 for Debtor 1 and Debtor 2 or non-filing spouse.
11. State all other regular contributions to the expenses that you list in Schedule J.
    Include contributions from an unmarried partner, members of your household, your dependents, your roommates, and
    other friends or relatives.
    Do not include any amounts already included in lines 2-10 or amounts that are not available to pay expenses listed in Schedule J.
    Specify:                                                                                                                  11. +$                       0.00

12. Add the amount in the last column of line 10 to the amount in line 11. The result is the combined monthly income.
    Write that amount on the Summary of Schedules and Statistical Summary of Certain Liabilities and Related Data, if it
    applies                                                                                                                          12.     $         5,282.76
                                                                                                                                             Combined
                                                                                                                                             monthly income
13. Do you expect an increase or decrease within the year after you file this form?
         No.
         Yes. Explain:




Official Form 106I                                                     Schedule I: Your Income                                                          page 2
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Fill in this information to identify your case:

Debtor 1                Muhammad Nasir Siddiqi                                                              Check if this is:
                                                                                                             An amended filing
Debtor 2                                                                                                     A supplement showing postpetition chapter
(Spouse, if filing)                                                                                             13 expenses as of the following date:

United States Bankruptcy Court for the:    EASTERN DISTRICT OF TEXAS                                                  MM / DD / YYYY

Case number           19-42834
(If known)



Official Form 106J
Schedule J: Your Expenses                                                                                                                                  12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach another sheet to this form. On the top of any additional pages, write your name and case
number (if known). Answer every question.

Part 1:   Describe Your Household
1. Is this a joint case?
       No. Go to line 2.
       Yes. Does Debtor 2 live in a separate household?
             No
             Yes. Debtor 2 must file Official Form 106J-2, Expenses for Separate Household of Debtor 2.
2.    Do you have dependents?              No
      Do not list Debtor 1 and             Yes.    Fill out this information for   Dependent’s relationship to          Dependent’s      Does dependent
      Debtor 2.                                     each dependent..............    Debtor 1 or Debtor 2                 age              live with you?

      Do not state the                                                                                                                     No
      dependents names.                                                             Wife                                                   Yes
                                                                                                                                           No
                                                                                    Son                                  3                 Yes
                                                                                                                                           No
                                                                                                                                           Yes
                                                                                                                                           No
                                                                                                                                           Yes
3.    Do your expenses include                    No
      expenses of people other than
      yourself and your dependents?               Yes

Part 2:    Estimate Your Ongoing Monthly Expenses
Estimate your expenses as of your bankruptcy filing date unless you are using this form as a supplement in a Chapter 13 case to report
expenses as of a date after the bankruptcy is filed. If this is a supplemental Schedule J, check the box at the top of the form and fill in the
applicable date.

Include expenses paid for with non-cash government assistance if you know
the value of such assistance and have included it on Schedule I: Your Income
(Official Form 106I.)                                                                                                        Your expenses


4.    The rental or home ownership expenses for your residence. Include first mortgage
      payments and any rent for the ground or lot.                                                           4. $                            3,800.00

      If not included in line 4:

      4a. Real estate taxes                                                                                4a.    $                              0.00
      4b. Property, homeowner’s, or renter’s insurance                                                     4b.    $                              0.00
      4c. Home maintenance, repair, and upkeep expenses                                                    4c.    $                            200.00
      4d. Homeowner’s association or condominium dues                                                      4d.    $                              0.00
5.    Additional mortgage payments for your residence, such as home equity loans                            5.    $                          1,900.00




Official Form 106J                                                    Schedule J: Your Expenses                                                            page 1
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Debtor 1     Muhammad Nasir Siddiqi                                                                    Case number (if known)      19-42834

6.    Utilities:
      6a. Electricity, heat, natural gas                                                     6a. $                                                 300.00
      6b. Water, sewer, garbage collection                                                   6b. $                                                 150.00
      6c. Telephone, cell phone, Internet, satellite, and cable services                     6c. $                                                 200.00
      6d. Other. Specify:                                                                    6d. $                                                   0.00
7.    Food and housekeeping supplies                                                           7. $                                                600.00
8.    Childcare and children’s education costs                                                 8. $                                                500.00
9.    Clothing, laundry, and dry cleaning                                                      9. $                                                100.00
10.   Personal care products and services                                                    10. $                                                 100.00
11.   Medical and dental expenses                                                            11. $                                                   0.00
12.   Transportation. Include gas, maintenance, bus or train fare.
      Do not include car payments.                                                           12. $                                                 200.00
13.   Entertainment, clubs, recreation, newspapers, magazines, and books                     13. $                                                   0.00
14.   Charitable contributions and religious donations                                       14. $                                                   0.00
15.   Insurance.
      Do not include insurance deducted from your pay or included in lines 4 or 20.
      15a. Life insurance                                                                  15a. $                                                    0.00
      15b. Health insurance                                                                15b. $                                                    0.00
      15c. Vehicle insurance                                                               15c. $                                                  120.00
      15d. Other insurance. Specify:                                                       15d. $                                                    0.00
16.   Taxes. Do not include taxes deducted from your pay or included in lines 4 or 20.
      Specify:                                                                               16. $                                                    0.00
17.   Installment or lease payments:
      17a. Car payments for Vehicle 1                                                      17a. $                                                  575.00
      17b. Car payments for Vehicle 2                                                      17b. $                                                    0.00
      17c. Other. Specify:                                                                 17c. $                                                    0.00
      17d. Other. Specify:                                                                 17d. $                                                    0.00
18.   Your payments of alimony, maintenance, and support that you did not report as
      deducted from your pay on line 5, Schedule I, Your Income (Official Form 106I).        18. $                                                    0.00
19.   Other payments you make to support others who do not live with you.                         $                                                   0.00
      Specify:                                                                               19.
20.   Other real property expenses not included in lines 4 or 5 of this form or on Schedule I: Your Income.
      20a. Mortgages on other property                                                     20a. $                                                     0.00
      20b. Real estate taxes                                                               20b. $                                                     0.00
      20c. Property, homeowner’s, or renter’s insurance                                    20c. $                                                     0.00
      20d. Maintenance, repair, and upkeep expenses                                        20d. $                                                     0.00
      20e. Homeowner’s association or condominium dues                                     20e. $                                                     0.00
21.   Other: Specify:                                                                        21. +$                                                   0.00
22. Calculate your monthly expenses
    22a. Add lines 4 through 21.                                                                                     $                       8,745.00
    22b. Copy line 22 (monthly expenses for Debtor 2), if any, from Official Form 106J-2                             $
      22c. Add line 22a and 22b. The result is your monthly expenses.                                                $                       8,745.00
23. Calculate your monthly net income.
    23a. Copy line 12 (your combined monthly income) from Schedule I.                                      23a. $                               5,282.76
    23b. Copy your monthly expenses from line 22c above.                                                   23b. -$                              8,745.00

      23c. Subtract your monthly expenses from your monthly income.
           The result is your monthly net income.                                                           23c. $                             -3,462.24

24. Do you expect an increase or decrease in your expenses within the year after you file this form?
      For example, do you expect to finish paying for your car loan within the year or do you expect your mortgage payment to increase or decrease because of a
      modification to the terms of your mortgage?
       No.
       Yes.              Explain here:




Official Form 106J                                                  Schedule J: Your Expenses                                                                     page 2
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 Fill in this information to identify your case:

 Debtor 1                    Muhammad Nasir Siddiqi
                             First Name                     Middle Name                Last Name

 Debtor 2
 (Spouse if, filing)         First Name                     Middle Name                Last Name


 United States Bankruptcy Court for the:              EASTERN DISTRICT OF TEXAS

 Case number              19-42834
 (if known)
                                                                                                                                        Check if this is an
                                                                                                                                         amended filing



Official Form 106Dec
Declaration About an Individual Debtor's Schedules                                                                                                             12/15

If two married people are filing together, both are equally responsible for supplying correct information.

You must file this form whenever you file bankruptcy schedules or amended schedules. Making a false statement, concealing property, or
obtaining money or property by fraud in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20
years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.



                       Sign Below


        Did you pay or agree to pay someone who is NOT an attorney to help you fill out bankruptcy forms?


               No

               Yes. Name of person                                                                                Attach Bankruptcy Petition Preparer’s Notice,
                                                                                                                   Declaration, and Signature (Official Form 119)


       Under penalty of perjury, I declare that I have read the summary and schedules filed with this declaration and
       that they are true and correct.

        X /s/ Muhammad Nasir Siddiqi                                                   X
              Muhammad Nasir Siddiqi                                                       Signature of Debtor 2
              Signature of Debtor 1

              Date       November 8, 2019                                                  Date




Official Form 106Dec                                       Declaration About an Individual Debtor's Schedules
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 Fill in this information to identify your case:

 Debtor 1                  Muhammad Nasir Siddiqi
                           First Name                       Middle Name                  Last Name

 Debtor 2
 (Spouse if, filing)       First Name                       Middle Name                  Last Name


 United States Bankruptcy Court for the:              EASTERN DISTRICT OF TEXAS

 Case number           19-42834
 (if known)
                                                                                                                                              Check if this is an
                                                                                                                                               amended filing



Official Form 107
Statement of Financial Affairs for Individuals Filing for Bankruptcy                                                                                                  4/19
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case
number (if known). Answer every question.

 Part 1:        Give Details About Your Marital Status and Where You Lived Before

1.     What is your current marital status?

              Married
              Not married

2.     During the last 3 years, have you lived anywhere other than where you live now?

              No
              Yes. List all of the places you lived in the last 3 years. Do not include where you live now.

        Debtor 1 Prior Address:                                  Dates Debtor 1             Debtor 2 Prior Address:                                Dates Debtor 2
                                                                 lived there                                                                       lived there
        1441 Tanglewood Drive                                    From-To:                    Same as Debtor 1                                      Same as Debtor 1
        Dallas, TX 75234                                                                                                                           From-To:




3. Within the last 8 years, did you ever live with a spouse or legal equivalent in a community property state or territory? (Community property
states and territories include Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington and Wisconsin.)

              No
              Yes. Make sure you fill out Schedule H: Your Codebtors (Official Form 106H).

 Part 2         Explain the Sources of Your Income

4.     Did you have any income from employment or from operating a business during this year or the two previous calendar years?
       Fill in the total amount of income you received from all jobs and all businesses, including part-time activities.
       If you are filing a joint case and you have income that you receive together, list it only once under Debtor 1.

              No
              Yes. Fill in the details.

                                                   Debtor 1                                                        Debtor 2
                                                   Sources of income                Gross income                   Sources of income               Gross income
                                                   Check all that apply.            (before deductions and         Check all that apply.           (before deductions
                                                                                    exclusions)                                                    and exclusions)

 From January 1 of current year until               Wages, commissions,                        $80,300.00          Wages, commissions,
 the date you filed for bankruptcy:                                                                                bonuses, tips
                                                   bonuses, tips
                                                    Operating a business                                           Operating a business
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 Debtor 1      Muhammad Nasir Siddiqi                                                                      Case number (if known)   19-42834


                                                   Debtor 1                                                        Debtor 2
                                                   Sources of income                Gross income                   Sources of income            Gross income
                                                   Check all that apply.            (before deductions and         Check all that apply.        (before deductions
                                                                                    exclusions)                                                 and exclusions)

 For last calendar year:                            Wages, commissions,                       $124,920.00          Wages, commissions,
 (January 1 to December 31, 2018 )                 bonuses, tips                                                   bonuses, tips

                                                    Operating a business                                           Operating a business

 For the calendar year before that:                 Wages, commissions,                       $139,668.00          Wages, commissions,
 (January 1 to December 31, 2017 )                 bonuses, tips                                                   bonuses, tips

                                                    Operating a business                                           Operating a business


5.    Did you receive any other income during this year or the two previous calendar years?
      Include income regardless of whether that income is taxable. Examples of other income are alimony; child support; Social Security, unemployment,
      and other public benefit payments; pensions; rental income; interest; dividends; money collected from lawsuits; royalties; and gambling and lottery
      winnings. If you are filing a joint case and you have income that you received together, list it only once under Debtor 1.

      List each source and the gross income from each source separately. Do not include income that you listed in line 4.

           No
           Yes. Fill in the details.

                                                   Debtor 1                                                        Debtor 2
                                                   Sources of income                Gross income from              Sources of income            Gross income
                                                   Describe below.                  each source                    Describe below.              (before deductions
                                                                                    (before deductions and                                      and exclusions)
                                                                                    exclusions)

 Part 3:      List Certain Payments You Made Before You Filed for Bankruptcy

6.    Are either Debtor 1’s or Debtor 2’s debts primarily consumer debts?
       No. Neither Debtor 1 nor Debtor 2 has primarily consumer debts. Consumer debts are defined in 11 U.S.C. § 101(8) as “incurred by an
                 individual primarily for a personal, family, or household purpose.”

                    During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $6,825* or more?
                         No.      Go to line 7.
                         Yes    List below each creditor to whom you paid a total of $6,825* or more in one or more payments and the total amount you
                                 paid that creditor. Do not include payments for domestic support obligations, such as child support and alimony. Also, do
                                 not include payments to an attorney for this bankruptcy case.
                     * Subject to adjustment on 4/01/22 and every 3 years after that for cases filed on or after the date of adjustment.

           Yes. Debtor 1 or Debtor 2 or both have primarily consumer debts.
                 During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $600 or more?

                         No.      Go to line 7.
                         Yes      List below each creditor to whom you paid a total of $600 or more and the total amount you paid that creditor. Do not
                                   include payments for domestic support obligations, such as child support and alimony. Also, do not include payments to an
                                   attorney for this bankruptcy case.


       Creditor's Name and Address                               Dates of payment            Total amount          Amount you       Was this payment for ...
                                                                                                     paid            still owe




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 Debtor 1      Muhammad Nasir Siddiqi                                                                      Case number (if known)    19-42834


7.    Within 1 year before you filed for bankruptcy, did you make a payment on a debt you owed anyone who was an insider?
      Insiders include your relatives; any general partners; relatives of any general partners; partnerships of which you are a general partner; corporations
      of which you are an officer, director, person in control, or owner of 20% or more of their voting securities; and any managing agent, including one for
      a business you operate as a sole proprietor. 11 U.S.C. § 101. Include payments for domestic support obligations, such as child support and
      alimony.

           No
           Yes. List all payments to an insider.
       Insider's Name and Address                                Dates of payment            Total amount          Amount you        Reason for this payment
                                                                                                     paid            still owe

8.    Within 1 year before you filed for bankruptcy, did you make any payments or transfer any property on account of a debt that benefited an
      insider?
      Include payments on debts guaranteed or cosigned by an insider.

           No
           Yes. List all payments to an insider
       Insider's Name and Address                                Dates of payment            Total amount          Amount you        Reason for this payment
                                                                                                     paid            still owe       Include creditor's name

 Part 4:      Identify Legal Actions, Repossessions, and Foreclosures

9.    Within 1 year before you filed for bankruptcy, were you a party in any lawsuit, court action, or administrative proceeding?
      List all such matters, including personal injury cases, small claims actions, divorces, collection suits, paternity actions, support or custody
      modifications, and contract disputes.

           No
           Yes. Fill in the details.
       Case title                                                Nature of the case         Court or agency                          Status of the case
       Case number
       Ropal Entertainment, LLC v.                               suit on debt               193rd Judicial Distrcit                     Pending
       Siddiqi et al                                                                        600 Commernce Street                        On appeal
       dc-18-09276                                                                          Dallas, TX 75201-1000
                                                                                                                                        Concluded



10. Within 1 year before you filed for bankruptcy, was any of your property repossessed, foreclosed, garnished, attached, seized, or levied?
    Check all that apply and fill in the details below.

           No. Go to line 11.
           Yes. Fill in the information below.
       Creditor Name and Address                                 Describe the Property                                        Date                        Value of the
                                                                                                                                                             property
                                                                 Explain what happened
       Simmons Bank                                              Rolls Royce Vehicle                                          Aug 2019                     Unknown
       PO BOX 7009
       PINE BLUFF, AR 71611                                       Property was repossessed.
                                                                  Property was foreclosed.
                                                                  Property was garnished.
                                                                  Property was attached, seized or levied.

11. Within 90 days before you filed for bankruptcy, did any creditor, including a bank or financial institution, set off any amounts from your
    accounts or refuse to make a payment because you owed a debt?
           No
           Yes. Fill in the details.
       Creditor Name and Address                                 Describe the action the creditor took                        Date action was                Amount
                                                                                                                              taken




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 Debtor 1      Muhammad Nasir Siddiqi                                                                      Case number (if known)    19-42834


12. Within 1 year before you filed for bankruptcy, was any of your property in the possession of an assignee for the benefit of creditors, a
    court-appointed receiver, a custodian, or another official?

           No
           Yes

 Part 5:      List Certain Gifts and Contributions

13. Within 2 years before you filed for bankruptcy, did you give any gifts with a total value of more than $600 per person?
           No
           Yes. Fill in the details for each gift.
       Gifts with a total value of more than $600                    Describe the gifts                                       Dates you gave                      Value
       per person                                                                                                             the gifts

       Person to Whom You Gave the Gift and
       Address:

14. Within 2 years before you filed for bankruptcy, did you give any gifts or contributions with a total value of more than $600 to any charity?
           No
           Yes. Fill in the details for each gift or contribution.
       Gifts or contributions to charities that total                Describe what you contributed                            Dates you                           Value
       more than $600                                                                                                         contributed
       Charity's Name
       Address (Number, Street, City, State and ZIP Code)

 Part 6:      List Certain Losses

15. Within 1 year before you filed for bankruptcy or since you filed for bankruptcy, did you lose anything because of theft, fire, other disaster,
    or gambling?

           No
           Yes. Fill in the details.
       Describe the property you lost and                   Describe any insurance coverage for the loss                      Date of your           Value of property
       how the loss occurred                                                                                                  loss                                lost
                                                            Include the amount that insurance has paid. List pending
                                                            insurance claims on line 33 of Schedule A/B: Property.

 Part 7:      List Certain Payments or Transfers

16. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone you
    consulted about seeking bankruptcy or preparing a bankruptcy petition?
    Include any attorneys, bankruptcy petition preparers, or credit counseling agencies for services required in your bankruptcy.

           No
           Yes. Fill in the details.
       Person Who Was Paid                                           Description and value of any property                    Date payment                  Amount of
       Address                                                       transferred                                              or transfer was                payment
       Email or website address                                                                                               made
       Person Who Made the Payment, if Not You
       Eric Liepins PC                                                                                                                                      $2,350.00
       12770 Coit Road
       Dallas, TX 75251


17. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone who
    promised to help you deal with your creditors or to make payments to your creditors?
    Do not include any payment or transfer that you listed on line 16.

           No
           Yes. Fill in the details.
       Person Who Was Paid                                           Description and value of any property                    Date payment                  Amount of
       Address                                                       transferred                                              or transfer was                payment
                                                                                                                              made

18. Within 2 years before you filed for bankruptcy, did you sell, trade, or otherwise transfer any property to anyone, other than property
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 Debtor 1      Muhammad Nasir Siddiqi                                                                       Case number (if known)   19-42834


      transferred in the ordinary course of your business or financial affairs?
      Include both outright transfers and transfers made as security (such as the granting of a security interest or mortgage on your property). Do not
      include gifts and transfers that you have already listed on this statement.
           No
           Yes. Fill in the details.
       Person Who Received Transfer                                  Description and value of                   Describe any property or         Date transfer was
       Address                                                       property transferred                       payments received or debts       made
                                                                                                                paid in exchange
       Person's relationship to you

19. Within 10 years before you filed for bankruptcy, did you transfer any property to a self-settled trust or similar device of which you are a
    beneficiary? (These are often called asset-protection devices.)
           No
           Yes. Fill in the details.
       Name of trust                                                 Description and value of the property transferred                           Date Transfer was
                                                                                                                                                 made

 Part 8:       List of Certain Financial Accounts, Instruments, Safe Deposit Boxes, and Storage Units

20. Within 1 year before you filed for bankruptcy, were any financial accounts or instruments held in your name, or for your benefit, closed,
    sold, moved, or transferred?
    Include checking, savings, money market, or other financial accounts; certificates of deposit; shares in banks, credit unions, brokerage
    houses, pension funds, cooperatives, associations, and other financial institutions.
           No
           Yes. Fill in the details.
       Name of Financial Institution and                         Last 4 digits of             Type of account or        Date account was                 Last balance
       Address (Number, Street, City, State and ZIP              account number               instrument                closed, sold,                before closing or
       Code)                                                                                                            moved, or                             transfer
                                                                                                                        transferred

21. Do you now have, or did you have within 1 year before you filed for bankruptcy, any safe deposit box or other depository for securities,
    cash, or other valuables?

           No
           Yes. Fill in the details.
       Name of Financial Institution                                 Who else had access to it?             Describe the contents                    Do you still
       Address (Number, Street, City, State and ZIP Code)            Address (Number, Street, City,                                                  have it?
                                                                     State and ZIP Code)

       Chase Bank                                                                                           Empty                                     No
                                                                                                                                                      Yes

22. Have you stored property in a storage unit or place other than your home within 1 year before you filed for bankruptcy?

           No
           Yes. Fill in the details.
       Name of Storage Facility                                      Who else has or had access             Describe the contents                    Do you still
       Address (Number, Street, City, State and ZIP Code)            to it?                                                                          have it?
                                                                     Address (Number, Street, City,
                                                                     State and ZIP Code)

 Part 9:       Identify Property You Hold or Control for Someone Else

23. Do you hold or control any property that someone else owns? Include any property you borrowed from, are storing for, or hold in trust
    for someone.

           No
           Yes. Fill in the details.
       Owner's Name                                                  Where is the property?                 Describe the property                                 Value
       Address (Number, Street, City, State and ZIP Code)            (Number, Street, City, State and ZIP
                                                                     Code)




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 Part 10:     Give Details About Environmental Information

For the purpose of Part 10, the following definitions apply:

     Environmental law means any federal, state, or local statute or regulation concerning pollution, contamination, releases of hazardous or
      toxic substances, wastes, or material into the air, land, soil, surface water, groundwater, or other medium, including statutes or
      regulations controlling the cleanup of these substances, wastes, or material.
     Site means any location, facility, or property as defined under any environmental law, whether you now own, operate, or utilize it or used
      to own, operate, or utilize it, including disposal sites.
     Hazardous material means anything an environmental law defines as a hazardous waste, hazardous substance, toxic substance,
      hazardous material, pollutant, contaminant, or similar term.

Report all notices, releases, and proceedings that you know about, regardless of when they occurred.

24. Has any governmental unit notified you that you may be liable or potentially liable under or in violation of an environmental law?

           No
           Yes. Fill in the details.
       Name of site                                                  Governmental unit                             Environmental law, if you             Date of notice
       Address (Number, Street, City, State and ZIP Code)            Address (Number, Street, City, State and      know it
                                                                     ZIP Code)

25. Have you notified any governmental unit of any release of hazardous material?

           No
           Yes. Fill in the details.
       Name of site                                                  Governmental unit                             Environmental law, if you             Date of notice
       Address (Number, Street, City, State and ZIP Code)            Address (Number, Street, City, State and      know it
                                                                     ZIP Code)

26. Have you been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.

           No
           Yes. Fill in the details.
       Case Title                                                    Court or agency                            Nature of the case                       Status of the
       Case Number                                                   Name                                                                                case
                                                                     Address (Number, Street, City,
                                                                     State and ZIP Code)

 Part 11:     Give Details About Your Business or Connections to Any Business

27. Within 4 years before you filed for bankruptcy, did you own a business or have any of the following connections to any business?
             A sole proprietor or self-employed in a trade, profession, or other activity, either full-time or part-time
             A member of a limited liability company (LLC) or limited liability partnership (LLP)
             A partner in a partnership
             An officer, director, or managing executive of a corporation
             An owner of at least 5% of the voting or equity securities of a corporation
           No. None of the above applies. Go to Part 12.

           Yes. Check all that apply above and fill in the details below for each business.
       Business Name                                             Describe the nature of the business                 Employer Identification number
       Address                                                                                                       Do not include Social Security number or ITIN.
       (Number, Street, City, State and ZIP Code)                Name of accountant or bookkeeper
                                                                                                                     Dates business existed
       Hiba Entertainment, Inc                                   Production company                                  EIN:

                                                                 LG4 Consulting                                      From-To




Official Form 107                                      Statement of Financial Affairs for Individuals Filing for Bankruptcy                                           page 6
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  Case 21-04077                         Doc 16-2 Filed 01/14/22 Entered 01/14/22 21:47:06                                                    Desc Exhibit
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 Debtor 1      Muhammad Nasir Siddiqi                                                                       Case number (if known)   19-42834


28. Within 2 years before you filed for bankruptcy, did you give a financial statement to anyone about your business? Include all financial
    institutions, creditors, or other parties.

            No
            Yes. Fill in the details below.
        Name                                                     Date Issued
        Address
        (Number, Street, City, State and ZIP Code)

 Part 12:     Sign Below

I have read the answers on this Statement of Financial Affairs and any attachments, and I declare under penalty of perjury that the answers
are true and correct. I understand that making a false statement, concealing property, or obtaining money or property by fraud in connection
with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20 years, or both.
18 U.S.C. §§ 152, 1341, 1519, and 3571.

 /s/ Muhammad Nasir Siddiqi
 Muhammad Nasir Siddiqi                                                    Signature of Debtor 2
 Signature of Debtor 1

 Date      November 8, 2019                                                Date

Did you attach additional pages to Your Statement of Financial Affairs for Individuals Filing for Bankruptcy (Official Form 107)?
 No
 Yes
Did you pay or agree to pay someone who is not an attorney to help you fill out bankruptcy forms?
 No
 Yes. Name of Person                   . Attach the Bankruptcy Petition Preparer's Notice, Declaration, and Signature (Official Form 119).




Official Form 107                                       Statement of Financial Affairs for Individuals Filing for Bankruptcy                                     page 7
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 Fill in this information to identify your case:

 Debtor 1                  Muhammad Nasir Siddiqi
                           First Name                       Middle Name                Last Name

 Debtor 2
 (Spouse if, filing)       First Name                       Middle Name                Last Name


 United States Bankruptcy Court for the:              EASTERN DISTRICT OF TEXAS

 Case number            19-42834
 (if known)
                                                                                                                                  Check if this is an
                                                                                                                                   amended filing



Official Form 108
Statement of Intention for Individuals Filing Under Chapter 7                                                                                      12/15


If you are an individual filing under chapter 7, you must fill out this form if:
 creditors have claims secured by your property, or
 you have leased personal property and the lease has not expired.
You must file this form with the court within 30 days after you file your bankruptcy petition or by the date set for the meeting of creditors,
        whichever is earlier, unless the court extends the time for cause. You must also send copies to the creditors and lessors you list
        on the form

If two married people are filing together in a joint case, both are equally responsible for supplying correct information. Both debtors must
         sign and date the form.

Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
        write your name and case number (if known).

 Part 1:        List Your Creditors Who Have Secured Claims

1. For any creditors that you listed in Part 1 of Schedule D: Creditors Who Have Claims Secured by Property (Official Form 106D), fill in the
   information below.
    Identify the creditor and the property that is collateral  What do you intend to do with the property that    Did you claim the property
                                                               secures a debt?                                    as exempt on Schedule C?



    Creditor's         Affiliated Bank                                      Surrender the property.                           No
    name:                                                                   Retain the property and redeem it.
                                                                            Retain the property and enter into a              Yes
    Description of        6701 Haven Hurst Allen, TX                         Reaffirmation Agreement.
    property              75002 Collin County                               Retain the property and [explain]:
    securing debt:



    Creditor's         Candence Bank                                        Surrender the property.                           No
    name:                                                                   Retain the property and redeem it.
                                                                            Retain the property and enter into a              Yes
    Description of        6701 Haven Hurst Allen, TX                         Reaffirmation Agreement.
    property              75002 Collin County                               Retain the property and [explain]:
    securing debt:



    Creditor's         Lincoln Financial                                    Surrender the property.                           No
    name:                                                                   Retain the property and redeem it.
                                                                            Retain the property and enter into a              Yes
    Description of        2019 Lincoln Navigator 10000                       Reaffirmation Agreement.
    property              miles                                             Retain the property and [explain]:

Official Form 108                                       Statement of Intention for Individuals Filing Under Chapter 7                                    page 1

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 Debtor 1      Muhammad Nasir Siddiqi                                                                  Case number (if known)    19-42834

     securing debt:



     Creditor's    US Bank                                                  Surrender the property.                                  No
     name:                                                                  Retain the property and redeem it.
                                                                            Retain the property and enter into a                     Yes
     Description of     2016 Ford Tahoe 20000 miles                          Reaffirmation Agreement.
     property                                                               Retain the property and [explain]:
     securing debt:

 Part 2:   List Your Unexpired Personal Property Leases
For any unexpired personal property lease that you listed in Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G), fill
in the information below. Do not list real estate leases. Unexpired leases are leases that are still in effect; the lease period has not yet ended.
You may assume an unexpired personal property lease if the trustee does not assume it. 11 U.S.C. § 365(p)(2).

 Describe your unexpired personal property leases                                                                               Will the lease be assumed?

 Lessor's name:                                                                                                                    No
 Description of leased
 Property:                                                                                                                         Yes

 Lessor's name:                                                                                                                    No
 Description of leased
 Property:                                                                                                                         Yes

 Lessor's name:                                                                                                                    No
 Description of leased
 Property:                                                                                                                         Yes

 Lessor's name:                                                                                                                    No
 Description of leased
 Property:                                                                                                                         Yes

 Lessor's name:                                                                                                                    No
 Description of leased
 Property:                                                                                                                         Yes

 Lessor's name:                                                                                                                    No
 Description of leased
 Property:                                                                                                                         Yes

 Lessor's name:                                                                                                                    No
 Description of leased
 Property:                                                                                                                         Yes

 Part 3:      Sign Below

Under penalty of perjury, I declare that I have indicated my intention about any property of my estate that secures a debt and any personal
property that is subject to an unexpired lease.

 X     /s/ Muhammad Nasir Siddiqi                                                     X
       Muhammad Nasir Siddiqi                                                             Signature of Debtor 2
       Signature of Debtor 1

       Date        November 8, 2019                                                   Date




Official Form 108                                       Statement of Intention for Individuals Filing Under Chapter 7                                        page 2

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 Fill in this information to identify your case:                                                   Check one box only as directed in this form and in Form
                                                                                                   122A-1Supp:
 Debtor 1              Muhammad Nasir Siddiqi
 Debtor 2                                                                                               1. There is no presumption of abuse
 (Spouse, if filing)

 United States Bankruptcy Court for the:            Eastern District of Texas
                                                                                                        2. The calculation to determine if a presumption of abuse
                                                                                                             applies will be made under Chapter 7 Means Test
                                                                                                             Calculation (Official Form 122A-2).
 Case number           19-42834
 (if known)                                                                                             3. The Means Test does not apply now because of
                                                                                                             qualified military service but it could apply later.
                                                                                                        Check if this is an amended filing
Official Form 122A - 1
Chapter 7 Statement of Your Current Monthly Income                                                                                                                  10/19
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for being accurate. If more space is needed,
attach a separate sheet to this form. Include the line number to which the additional information applies. On the top of any additional pages, write your name and
case number (if known). If you believe that you are exempted from a presumption of abuse because you do not have primarily consumer debts or because of
qualifying military service, complete and file Statement of Exemption from Presumption of Abuse Under § 707(b)(2) (Official Form 122A-1Supp) with this form.

 Part 1:           Calculate Your Current Monthly Income

  1. What is your marital and filing status? Check one only.
         Not married. Fill out Column A, lines 2-11.
         Married and your spouse is filing with you. Fill out both Columns A and B, lines 2-11.
         Married and your spouse is NOT filing with you. You and your spouse are:
          Living in the same household and are not legally separated. Fill out both Columns A and B, lines 2-11.
               Living separately or are legally separated. Fill out Column A, lines 2-11; do not fill out Column B. By checking this box, you declare under
                  penalty of perjury that you and your spouse are legally separated under nonbankruptcy law that applies or that you and your spouse are
                  living apart for reasons that do not include evading the Means Test requirements. 11 U.S.C § 707(b)(7)(B).
    Fill in the average monthly income that you received from all sources, derived during the 6 full months before you file this bankruptcy case. 11 U.S.C. §
    101(10A). For example, if you are filing on September 15, the 6-month period would be March 1 through August 31. If the amount of your monthly income varied during
    the 6 months, add the income for all 6 months and divide the total by 6. Fill in the result. Do not include any income amount more than once. For example, if both
    spouses own the same rental property, put the income from that property in one column only. If you have nothing to report for any line, write $0 in the space.
                                                                                                        Column A                Column B
                                                                                                        Debtor 1                Debtor 2 or
                                                                                                                                non-filing spouse
  2. Your gross wages, salary, tips, bonuses, overtime, and commissions (before all
     payroll deductions).                                                               $                        7,000.00       $               0.00
  3. Alimony and maintenance payments. Do not include payments from a spouse if
     Column B is filled in.                                                             $                             0.00      $               0.00
  4. All amounts from any source which are regularly paid for household expenses
     of you or your dependents, including child support. Include regular contributions
     from an unmarried partner, members of your household, your dependents, parents,
     and roommates. Include regular contributions from a spouse only if Column B is not
     filled in. Do not include payments you listed on line 3.                           $                             0.00      $               0.00
  5. Net income from operating a business, profession, or farm
                                                                       Debtor 1
        Gross receipts (before all deductions)                             $    0.00
        Ordinary and necessary operating expenses                          -$   0.00
        Net monthly income from a business, profession, or farm $               0.00 Copy here -> $                   0.00      $               0.00
  6. Net income from rental and other real property
                                                                                  Debtor 1
        Gross receipts (before all deductions)                             $    0.00
        Ordinary and necessary operating expenses                          -$   0.00
        Net monthly income from rental or other real property              $    0.00 Copy here -> $                   0.00      $               0.00
                                                                                                        $             0.00      $               0.00
  7. Interest, dividends, and royalties




Official Form 122A-1                                      Chapter 7 Statement of Your Current Monthly Income                                                   page 1
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 Debtor 1     Muhammad Nasir Siddiqi                                                                        Case number (if known)   19-42834


                                                                                                        Column A                     Column B
                                                                                                        Debtor 1                     Debtor 2 or
                                                                                                                                     non-filing spouse
  8. Unemployment compensation                                                                          $                  0.00      $            0.00
       Do not enter the amount if you contend that the amount received was a benefit under
       the Social Security Act. Instead, list it here:
          For you                                          $                    0.00
            For your spouse                                          $                    0.00
  9. Pension or retirement income. Do not include any amount received that was a
      benefit under the Social Security Act. Also, except as stated in the next sentence, do
      not include any compensation, pension, pay, annuity, or allowance paid by the
      United States Government in connection with a disability, combat-related injury or
      disability, or death of a member of the uniformed services. If you received any retired
      pay paid under chapter 61 of title 10, then include that pay only to the extent that it
      does not exceed the amount of retired pay to which you would otherwise be entitled
      if retired under any provision of title 10 other than chapter 61 of that title.         $                            0.00      $            0.00
  10. Income from all other sources not listed above. Specify the source and amount.
      Do not include any benefits received under the Social Security Act; payments
      received as a victim of a war crime, a crime against humanity, or international or
      domestic terrorism; or compensation, pension, pay, annuity, or allowance paid by the
      United States Government in connection with a disability, combat-related injury or
      disability, or death of a member of the uniformed services. If necessary, list other
      sources on a separate page and put the total below.
               .                                                                              $                            0.00      $            0.00
                                                                                                        $                  0.00      $            0.00
                  Total amounts from separate pages, if any.                                      +     $                  0.00      $            0.00

  11. Calculate your total current monthly income. Add lines 2 through 10 for
      each column. Then add the total for Column A to the total for Column B.                 $        7,000.00          +   $           0.00     =   $      7,000.00

                                                                                                                                                      Total current monthly
                                                                                                                                                      income

 Part 2:        Determine Whether the Means Test Applies to You

  12. Calculate your current monthly income for the year. Follow these steps:
       12a. Copy your total current monthly income from line 11                                                   Copy line 11 here=>             $          7,000.00

              Multiply by 12 (the number of months in a year)                                                                                             x 12
       12b. The result is your annual income for this part of the form                                                                      12b. $          84,000.00

  13. Calculate the median family income that applies to you. Follow these steps:

       Fill in the state in which you live.                                     TX

       Fill in the number of people in your household.                          3
       Fill in the median family income for your state and size of household.                                                               13.   $         72,271.00
       To find a list of applicable median income amounts, go online using the link specified in the separate instructions
       for this form. This list may also be available at the bankruptcy clerk’s office.
  14. How do the lines compare?
       14a.          Line 12b is less than or equal to line 13. On the top of page 1, check box 1, There is no presumption of abuse.
                      Go to Part 3.
       14b.          Line 12b is more than line 13. On the top of page 1, check box 2, The presumption of abuse is determined by Form 122A-2.
                      Go to Part 3 and fill out Form 122A-2.
 Part 3:        Sign Below
              By signing here, I declare under penalty of perjury that the information on this statement and in any attachments is true and correct.

             X /s/ Muhammad Nasir Siddiqi
                Muhammad Nasir Siddiqi
                Signature of Debtor 1
        Date November 8, 2019
Official Form 122A-1                                      Chapter 7 Statement of Your Current Monthly Income                                                        page 2
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 Debtor 1    Muhammad Nasir Siddiqi                                                                    Case number (if known)   19-42834
                MM / DD / YYYY
             If you checked line 14a, do NOT fill out or file Form 122A-2.
             If you checked line 14b, fill out Form 122A-2 and file it with this form.




Official Form 122A-1                                      Chapter 7 Statement of Your Current Monthly Income                                             page 3
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 Fill in this information to identify your case:                                                                 Check the appropriate box as directed in
                                                                                                                 lines 40 or 42:
 Debtor 1            Muhammad Nasir Siddiqi
                                                                                                                     According to the calculations required by this
 Debtor 2                                                                                                            Statement:
 (Spouse, if filing)
                                                                                                                      1. There is no presumption of abuse.
 United States Bankruptcy Court for the:            Eastern District of Texas

 Case number
                                                                                                                      2. There is a presumption of abuse.
                     19-42834
 (if known)
                                                                                                                 Check if this is an amended filing
Official Form 122A - 2
Chapter 7 Means Test Calculation                                                                                                                                04/19

To fill out this form, you will need your completed copy of Chapter 7 Statement of Your Current Monthly Income (Official Form 122A-1).

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for being accurate. If more
space is needed, attach a separate sheet to this form, Include the line number to which additional information applies. On the top any
additional pages, write your name and case number (if known).

 Part 1:       Determine Your Adjusted Income

 1.    Copy your total current monthly income.                               Copy line 11 from Official Form 122A-1 here=>........       $              7,000.00

 2.    Did you fill out Column B in Part 1 of Form 122A-1?
        No.      Fill in $0 for the total on line 3.
        Yes. Is your spouse Filing with you?
         No.       Go to line 3.
            Yes.         Fill in $0 for the total on line 3.

 3.    Adjust your current monthly income by subtracting any part of your spouse's income not used to pay for the
       household expenses of you or your dependents. Follow these steps:

       On line 11, Column B of Form 122A–1, was any amount of the income you reported for your spouse NOT regularly used for the household
       expenses of you or your dependents?

        No.      Fill in 0 for the total on line 3.
        Yes.     Fill in the information below:

               State each purpose for which the income was used                                    Fill in the amount you
               For example, the income is used to pay your spouse's tax debt or to                 are subtracting from
               support other than you or your dependents.                                          your spouse's income

                                                                                               $

                                                                                               $

                                                                                               $

                     Total.                                                                    $              0.00

                                                                                                                      Copy total here=>...    -$              0.00


 4.    Adjust your current monthly income. Subtract line 3 from line 1.                                                                      $       7,000.00




Official Form 122A-2                                                 Chapter 7 Means Test Calculation                                                      page 1
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 Debtor 1         Muhammad Nasir Siddiqi                                                               Case number (if known)      19-42834


 Part 2:           Calculate Your Deductions from Your Income

    The Internal Revenue Service (IRS) issues National and Local Standards for certain expense amounts. Use these amounts
    to answer the questions in lines 6-15. To find the IRS standards, go online using the link specified in the separate
    instructions for this form. This information may also be available at the bankruptcy clerk's office.

    Deduct the expense amounts set out in lines 6-15 regardless of your actual expense. In later parts of the form, you will use some of
    your actual expenses if they are higher than the standards. Do not deduct any amounts that you subtracted fro your spouse's
    income in line 3 and do not deduct any operating expenses that you subtracted from in income in lines 5 and 6 of form 122A-1.

    If your expenses differ from month to month, enter the average expense.

    Whenever this part of the from refers to you, it means both you and your spouse if Column B of Form 122A-1 is filled in.


    5.      The number of people used in determining your deductions from income

            Fill in the number of people who could be claimed as exemptions on your federal income tax return,
            plus the number of any additional dependents whom you support. This number may be different from                               3
            the number of people in your household.



    National Standards                   You must use the IRS National Standards to answer the questions in lines 6-7.



    6.      Food, clothing, and other items: Using the number of people you entered in line 5 and the IRS National
            Standards, fill in the dollar amount for food, clothing, and other items.                                                          $           1,446.00


    7.      Out-of-pocket health care allowance: Using the number of people you entered in line 5 and the IRS National Standards, fill in
            the dollar amount for out-of-pocket health care. The number of people is split into two categories--people who are under 65 and
            people who are 65 or older--because older people have a higher IRS allowance for health care costs. If your actual expenses are
            higher than this IRS amount, you may deduct the additional amount on line 22.



    People who are under 65 years of age

            7a. Out-of-pocket health care allowance per person               $        55.00

            7b. Number of people who are under 65                           X          3

            7c. Subtotal. Multiply line 7a by line 7b.                       $       165.00            Copy here=>        $           165.00


    People who are 65 years of age or older

            7d. Out-of-pocket health care allowance per person               $       114.00

            7e. Number of people who are 65 or older                        X          0

            7f.    Subtotal. Multiply line 7d by line 7e.                    $          0.00           Copy here=>       +$              0.00


            7g. Total. Add line 7c and line 7f                                                 $       165.00                   Copy total here=> $       165.00




Official Form 122A-2                                                 Chapter 7 Means Test Calculation                                                         page 2
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 Debtor 1     Muhammad Nasir Siddiqi                                                                      Case number (if known)     19-42834

    Local Standards          You must use the IRS Local Standards to answer the questions in lines 8-15.


    Based on information from the IRS, the U.S. Trustee Program has divided the IRS Local Standard for housing for
    bankruptcy purposes into two parts:

     Housing and utilities - Insurance and operating expenses
     Housing and utilities - Mortgage or rent expenses
    To answer the questions in lines 8-9, use the U.S. Trustee Program chart.

    To find the chart, go online using the link specified in the separate instructions for this form.
    This chart may also be available at the bankruptcy clerk's office.


    8.      Housing and utilities - Insurance and operating expenses: Using the number of people you entered in line 5, fill
            in the dollar amount listed for your county for insurance and operating expenses. ........................................... $                         647.00

    9.      Housing and utilities - Mortgage or rent expenses:

            9a. Using the number of people you entered in line 5, fill in the dollar amount
                listed for your county for mortgage or rent expenses...................................                       $       1,751.00

            9b. Total average monthly payment for all mortgages and other debts secured by your home.

                 To calculate the total average monthly payment, add all amounts that are
                 contractually due to each secured creditor in the 60 months after you file
                 for bankruptcy. Then divide by 60.

                 Name of the creditor                                               Average monthly
                                                                                    payment

                 Affiliated Bank                                                    $          3,800.00
                 Candence Bank                                                      $          1,900.00


                                                                                                                                                      Repeat this
                                                                                                           Copy                                       amount on
                                         Total average monthly payment              $          5,700.00    here=>        -$               5,700.00    line 33a.


            9c. Net mortgage or rent expense.

                 Subtract line 9b (total average monthly payment) from line 9a (mortgage                                                     Copy
                 or rent expense). If this amount is less than $0, enter $0. ........................         $                    0.00      here=>    $               0.00


    10. If you claim that the U.S. Trustee Program's division of the IRS Local Standard for housing is incorrect and
        affects the calculation of your monthly expenses, fill in any additional amount you claim.                                                    $                0.00

             Explain why:

    11. Local transportation expenses: Check the number of vehicles for which you claim an ownership or operating expense.

             0. Go to line 14.
             1. Go to line 12.
             2 or more. Go to line 12.

    12. Vehicle operation expense: Using the IRS Local Standards and the number of vehicles for which you claim the
        operating expenses, fill in the Operating Costs that apply for your Census region or metropolitan statistical area.                           $             281.00




Official Form 122A-2                                                 Chapter 7 Means Test Calculation                                                               page 3
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 Debtor 1     Muhammad Nasir Siddiqi                                                                              Case number (if known)   19-42834


    13. Vehicle ownership or lease expense: Using the IRS Local Standards, calculate the net ownership or lease expense for each vehicle below.
        You may not claim the expense if you do not make any loan or lease payments on the vehicle. In addition, you may not claim the expense for
        more than two vehicles.


     Vehicle 1         Describe Vehicle 1:
                                                  2016 Ford Tahoe 20000 miles

    13a. Ownership or leasing costs using IRS Local Standard..........................................                  $             508.00

    13b. Average monthly payment for all debts secured by Vehicle 1.
            Do not include costs for leased vehicles.

            To calculate the average monthly payment here and on line 13e, add all amounts that
            are contractually due to each secured creditor in the 60 months after you filed for
            bankruptcy. Then divide by 60.

                 Name of each creditor for Vehicle 1                               Average monthly
                                                                                   payment

                 US Bank                                                            $             575.00

                                                                                                                                                      Repeat this
                                                                                                                   Copy                               amount on
                                         Total Average Monthly Payment             $              575.00           here =>       -$        575.00     line 33b.




    13c. Net Vehicle 1 ownership or lease expense                                                                                                 Copy net
                                                                                                                                                  Vehicle 1
            Subtract line 13b from line 13a. if this amount is less than $0, enter $0.                                                            expense
                                                                                                                        $               0.00      here => $                   0.00



     Vehicle 2         Describe Vehicle 2:


    13d. Ownership or leasing costs using IRS Local Standard...................................................         $               0.00

    13e. Average monthly payment for all debts secured by Vehicle 2. Do not include costs for
         leased vehicles.

                 Name of each creditor for Vehicle 2                               Average monthly
                                                                                   payment

                                                                                    $

                                                                                                                   Copy                            Repeat this
                                                                                                                   here                            amount on
                                         Total Average Monthly Payment             $                                                       0.00
                                                                                                                   =>       -$                     line 33c.




    13f. Net Vehicle 2 ownership or lease expense                                                                                                 Copy net
                                                                                                                                                  Vehicle 2
            Subtract line 13e from line 13d. if this amount is less than $0, enter $0. ......................                                     expense
                                                                                                                        $               0.00      here => $                   0.00


    14. Public transportation expense: If you claimed 0 vehicles in line 11, using the IRS Local Standards, fill in the Public
        Transportation expense allowance regardless of whether you use public transportation.                                                                $                0.00

    15. Additional public transportation expense: If you claimed 1 or more vehicles in line 11 and if you claim that you may
        also deduct a public transportation expense, you may fill in what you believe is the appropriate expense, but you may
        not claim more than the IRS Local Standard for Public Transportation.                                                                                $                0.00




Official Form 122A-2                                                 Chapter 7 Means Test Calculation                                                                      page 4
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 Debtor 1     Muhammad Nasir Siddiqi                                                                   Case number (if known)   19-42834



    Other Necessary Expenses                In addition to the expense deductions listed above, you are allowed your monthly expenses for
                                            the following IRS categories.

    16. Taxes: The total monthly amount that you will actually owe for federal, state and local taxes, such as income taxes,
        self-employment taxes, social security taxes, and Medicare taxes. You may include the monthly amount withheld from
        your pay for these taxes. However, if you expect to receive a tax refund, you must divide the expected refund by 12
        and subtract that number from the total monthly amount that is withheld to pay for taxes.
            Do not include real estate, sales, or use taxes.                                                                                $         1,717.00

    17. Involuntary deductions: The total monthly payroll deductions that your job requires, such as retirement
        contributions, union dues, and uniform costs.
            Do not include amounts that are not required by your job, such as voluntary 401(k) contributions or payroll savings.            $               0.00

    18. Life Insurance: The total monthly premiums that you pay for your own term life insurance. If two married people are
        filing together, include payments that you make for your spouse's term life insurance. Do not include premiums for life
        insurance on your dependents, for a non-filing spouse's life insurance, or for any form of life insurance other than
        term.                                                                                                                               $               0.00

    19. Court-ordered payments: The total monthly amount that you pay as required by the order of a court or
        administrative agency, such as spousal or child support payments.
            Do not include payments on past due obligations for spousal or child support. You will list these obligations in line 35.       $               0.00

    20. Education: The total monthly amount that you pay for education that is either required:
             as a condition for your job, or
             for your physically or mentally challenged dependent child if no public education is available for similar services.          $               0.00

    21. Childcare: The total monthly amount that you pay for childcare, such as babysitting, daycare, nursery, and preschool.
            Do not include payments for any elementary or secondary school education.                                                       $               0.00

    22. Additional health care expenses, excluding insurance costs: The monthly amount that you pay for health care
        that is required for the health and welfare of you or your dependents and that is not reimbursed by insurance or paid
        by a health savings account. Include only the amount that is more than the total entered in line 7.
            Payments for health insurance or health savings accounts should be listed only in line 25.                                      $               0.00

    23. Optional telephone and telephone services: The total monthly amount that you pay for telecommunication services
        for you and your dependents, such as pagers, call waiting, caller identification, special long distance, or business cell
        phone service, to the extent necessary for your health and welfare or that of your dependents or for the production of
        income, if it is not reimbursed by your employer.
            Do not include payments for basic home telephone, internet and cell phone service. Do not include self-employment
            expenses, such as those reported on line 5 of Official Form 122A-1, or any amount you previously deducted.                     +$               0.00



    24. Add all of the expenses allowed under the IRS expense allowances.                                                                  $       4,256.00
        Add lines 6 through 23.




Official Form 122A-2                                                 Chapter 7 Means Test Calculation                                                    page 5
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 Debtor 1       Muhammad Nasir Siddiqi                                                                 Case number (if known)   19-42834


    Additional Expense Deductions                 These are additional deductions allowed by the Means Test.
                                                  Note: Do not include any expense allowances listed in lines 6-24.

    25. Health insurance, disability insurance, and health savings account expenses. The monthly expenses for health
        insurance, disability insurance, and health savings accounts that are reasonably necessary for yourself, your spouse, or
        your dependents.
            Health insurance                                                 $          0.00
            Disability insurance                                             $          0.00
            Health savings account                                         +$           0.00


            Total                                                            $           0.00     Copy total here=>                        $                0.00


            Do you actually spend this total amount?

                   No. How much do you actually spend?
                   Yes                                                      $

    26. Continued contributions to the care of household or family members. The actual monthly expenses that you will
        continue to pay for the reasonable and necessary care and support of an elderly, chronically ill, or disabled member of
        your household or member of your immediate family who is unable to pay for such expenses. These expenses may
        include contributions to an account of a qualified ABLE program. 26 U.S.C.§ 529A(b).                                                $               0.00
    27. Protection against family violence. The reasonably necessary monthly expenses that you incur to maintain the
        safety of you and your family under the Family Violence Prevention and Services Act or other federal laws that apply.

            By law, the court must keep the nature of these expenses confidential.                                                          $               0.00
    28. Additional home energy costs. Your home energy costs are included in your insurance and operating expenses on
        line 8.

            If you believe that you have home energy costs that are more than the home energy costs included in expenses on line
            8, then fill in the excess amount of home energy costs.

            You must give your case trustee documentation of your actual expenses, and you must show that the additional
            amount claimed is reasonable and necessary.                                                                                     $               0.00
    29. Education expenses for dependent children who are younger than 18. The monthly expenses (not more than
        $170.83* per child) that you pay for your dependent children who are younger than 18 years old to attend a private or
        public elementary or secondary school.

            You must give your case trustee documentation of your actual expenses, and you must explain why the amount
            claimed is reasonable and necessary and not already accounted for in lines 6-23.

            * Subject to adjustment on 4/01/22, and every 3 years after that for cases begun on or after the date of adjustment.            $               0.00
    30. Additional food and clothing expense. The monthly amount by which your actual food and clothing expenses are
        higher than the combined food and clothing allowances in the IRS National Standards. That amount cannot be more
        than 5% of the food and clothing allowances in the IRS National Standards.

            To find a chart showing the maximum additional allowance, go online using the link specified in the separate
            instructions for this form. This chart may also be available at the bankruptcy clerk's office.

            You must show that the additional amount claimed is reasonable and necessary.                                                   $               0.00
    31. Continuing charitable contributions. The amount that you will continue to contribute in the form of cash or financial
        instruments to a religious or charitable organization. 26 U.S.C. § 170(c)(1)-(2).                                                  +$               0.00


    32. Add all of the additional expense deductions.                                                                                      $            0.00
        Add lines 25 through 31.




Official Form 122A-2                                                 Chapter 7 Means Test Calculation                                                    page 6
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 Debtor 1    Muhammad Nasir Siddiqi                                                                              Case number (if known)     19-42834


    Deductions for Debt Payment

    33. For debts that are secured by an interest in property that you own, including home mortgages, vehicle
        loans, and other secured debt, fill in lines 33a through 33e.
        To calculate the total average monthly payment, add all amounts that are contractually due to each secured
        creditor in the 60 months after you file for bankruptcy. Then divide by 60.

             Mortgages on your home:                                                                                                                    Average monthly
                                                                                                                                                        payment
    33a.     Copy line 9b here                                                                                                                   =>    $         5,700.00
             Loans on your first two vehicles:
    33b.     Copy line 13b here                                                                                                                  =>    $            575.00
    33c.     Copy line 13e here                                                                                                                  =>    $               0.00
    33d.     List other secured debts:
    Name of each creditor for other secured debt                     Identify property that secures the debt                    Does payment
                                                                                                                                include taxes or
                                                                                                                                insurance?

                                                                                                                                         No
            -NONE-                                                                                                                       Yes          $

                                                                                                                                         No
                                                                                                                                         Yes          $

                                                                                                                                         No
                                                                                                                                         Yes         +$


                                                                                                                                                   Copy
                                                                                                                                                   total
    33e. Total average monthly payment. Add lines 33a through 33d                                                    $           6,275.00          here=>    $     6,275.00

    34. Are any debts that you listed in line 33 secured by your primary residence, a vehicle,
        or other property necessary for your support or the support of your dependents?

            No. Go to line 35.
            Yes. State any amount that you must pay to a creditor, in addition to the payments
                  listed in line 33, to keep possession of your property (called the cure amount).
                  Next, divide by 60 and fill in the information below.

     Name of the creditor                                    Identify property that secures the debt                         Total cure                      Monthly cure
                                                                                                                             amount                          amount

     -NONE-                                                                                                              $                       ÷ 60 = $


                                                                                                                                                   Copy
                                                                                                                                                   total
                                                                                                               Total $                    0.00     here=>    $              0.00


    35. Do you owe any priority claims such as a priority tax, child support, or alimony - that
        are past due as of the filing date of your bankruptcy case? 11 U.S.C. § 507.

            No. Go to line 36.
            Yes. Fill in the total amount of all of these priority claims. Do not include current or
                  ongoing priority claims, such as those you listed in line 19.
                      Total amount of all past-due priority claims                                                   $                    0.00 ÷ 60 = $                     0.00




Official Form 122A-2                                                     Chapter 7 Means Test Calculation                                                                page 7
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 Debtor 1     Muhammad Nasir Siddiqi                                                                       Case number (if known)      19-42834

    36. Are you eligible to file a case under Chapter 13? 11 U.S.C. § 109(e).
        For more information, go online using the link for Bankruptcy Basics specified in the separate
        instructions for this form. Bankruptcy Basics may also be available at the bankruptcy clerk's office.

             No. Go to line 37.
             Yes. Fill in the following information.
                     Projected monthly plan payment if you were filing under Chapter 13                        $
                     Current multiplier for your district as stated on the list issued by the
                     Administrative Office of the United States Courts (for districts in Alabama
                     and North Carolina) or by the Executive Office for United States Trustees
                     (for all other districts).                                                               X


                     To find a list of district multipliers that includes your district, go online using
                     the link specified in the separate instructions for this form. This list may also
                     be available at the bankruptcy clerk’s office.
                                                                                                                                             Copy total
                     Average monthly administrative expense if you were filing under Chapter 13                    $                         here=> $




    37. Add all of the deductions for debt payment.                                                                                                           $      6,275.00
        Add lines 33e through 36.

    Total Deductions from Income

    38. Add all of the allowed deductions.
            Copy line 24, All of the expenses allowed under IRS
            expense allowances                                                       $           4,256.00
            Copy line 32, All of the additional expense deductions                   $                 0.00
            Copy line 37, All of the deductions for debt payment                    +$           6,275.00


                                                                Total deductions     $          10,531.00              Copy total here...........=>       $           10,531.00


 Part 3:        Determine Whether There is a Presumption of Abuse

    39. Calculate monthly disposable income for 60 months
            39a. Copy line 4, adjusted current monthly income                        $           7,000.00
            39b. Copy line 38,Total deductions                                      -$          10,531.00

            39c. Monthly disposable income. 11 U.S.C. § 707(b)(2).                                                     Copy
                 Subtract line 39b from line 39a                                     $          -3,531.00              here=>$                 -3,531.00


            For the next 60 months (5 years)                                                                                          x 60

                                                                                                                                    Copy
            39d. Total. Multiply line 39c by 60                                          39d.   $           -211,860.00             here=>            $           -211,860.00


    40. Find out whether there is a presumption of abuse. Check the box that applies:

             The line 39d is less than $8,175*. On the top of page 1 of this form, check box 1, There is no presumption of abuse. Go to Part 5.

             The line 39d is more than $13,650*. On the top of page 1 of this form, check box 2, There is a presumption of abuse. You may fill out
              Part 4 if you claim special circumstances. Go to Part 5.

             The line 39d is at least $8,175*, but not more than $13,650*. Go to line 41.

        *Subject to adjustment on 4/01/22, and every 3 years after that for cases filed on or after the date of adjustment.




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 Debtor 1     Muhammad Nasir Siddiqi                                                                                             Case number (if known)   19-42834



    41.       41a. Fill in the amount of your total nonpriority unsecured debt. If you filled out
                   A Summary of Your Assets and Liabilities and Certain Statistical Information
                   Schedules (Official Form 106Sum), you may refer to line 3b on that form.                                               $
                                                                                                                                              x    .25
                                                                                                                                                              Copy
              41b. 25% or your total nonpriority unsecured debt. 11 U.S.C. § 707(b)(2)(A)(i)(I)                                           $                   here=>    $
                     Multiply line 41a by 0.25.....................................................................................

    42. Determine whether the income you have left over after subtracting all allowed deductions is enough to pay
        25% of your unsecured, nonpriority debt.
        Check the box that applies:

             Line 39d is less than line 41b. On the top of page 1 of this form, check box 1, There is no presumption of abuse.
              Go to Part 5.

             Line 39d is equal to or more than line 41b. On the top of page 1 of this form, check box 2, There is a
              presumption of abuse. You may fill out Part 4 if you claim special circumstances. Then go to Part 5.


 Part 4:        Give Details About Special Circumstances

 43. Do you have any special circumstances that justify additional expenses or adjustments of current monthly income for which there is no
     reasonable alternative? 11 U.S.C. § 707(b)(2)(B).


           No. Go to Part 5.

           Yes. Fill in the following information. All figures should reflect your average monthly expense or income adjustment for each
                 item. You may include expenses you listed in line 25.

                 You must give a detailed explanation of the special circumstances that make the expenses or income adjustments
                 necessary and reasonable. You must also give your case trustee documentation of your actual expenses or income
                 adjustments.



                  Give a detailed explanation of the special circumstances                                                       Average monthly expense
                                                                                                                                 or income adjustment

                                                                                                                                      $

                                                                                                                                      $

                                                                                                                                      $

                                                                                                                                      $


 Part 5:        Sign Below
              By signing here, I declare under penalty of perjury that the information on this statement and in any attachments is true and correct.

              X /s/ Muhammad Nasir Siddiqi
                 Muhammad Nasir Siddiqi
                 Signature of Debtor 1
          Date November 8, 2019
               MM / DD / YYYY




Official Form 122A-2                                                           Chapter 7 Means Test Calculation                                                                    page 9
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Notice Required by 11 U.S.C. § 342(b) for
Individuals Filing for Bankruptcy (Form 2010)


                                                                                               Chapter 7:             Liquidation
 This notice is for you if:
                                                                                                          $245       filing fee
        You are an individual filing for bankruptcy,
        and                                                                                                $75    administrative fee

        Your debts are primarily consumer debts.                                               +           $15    trustee surcharge
        Consumer debts are defined in 11 U.S.C.
        § 101(8) as “incurred by an individual                                                            $335       total fee
        primarily for a personal, family, or
        household purpose.”                                                                    Chapter 7 is for individuals who have financial
                                                                                               difficulty preventing them from paying their debts
                                                                                               and who are willing to allow their nonexempt
 The types of bankruptcy that are available to                                                 property to be used to pay their creditors. The
 individuals                                                                                   primary purpose of filing under chapter 7 is to have
                                                                                               your debts discharged. The bankruptcy discharge
 Individuals who meet the qualifications may file under                                        relieves you after bankruptcy from having to pay
 one of four different chapters of Bankruptcy Code:                                            many of your pre-bankruptcy debts. Exceptions exist
                                                                                               for particular debts, and liens on property may still
        Chapter 7 - Liquidation                                                                be enforced after discharge. For example, a creditor
                                                                                               may have the right to foreclose a home mortgage or
        Chapter 11 - Reorganization                                                            repossess an automobile.

        Chapter 12 - Voluntary repayment plan                                                  However, if the court finds that you have committed
                    for family farmers or                                                      certain kinds of improper conduct described in the
                    fishermen                                                                  Bankruptcy Code, the court may deny your
                                                                                               discharge.
        Chapter 13 - Voluntary repayment plan
                    for individuals with regular                                               You should know that even if you file chapter 7 and
                    income                                                                     you receive a discharge, some debts are not
                                                                                               discharged under the law. Therefore, you may still
                                                                                               be responsible to pay:
 You should have an attorney review your
 decision to file for bankruptcy and the choice of                                                     most taxes;
 chapter.
                                                                                                       most student loans;

                                                                                                       domestic support and property settlement
                                                                                                       obligations;




Notice Required by 11 U.S.C. § 342(b) for Individuals Filing for Bankruptcy (Form 2010)                                                                       page 1
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        most fines, penalties, forfeitures, and criminal                                   your income is more than the median income for your
        restitution obligations; and                                                       state of residence and family size, depending on the
                                                                                           results of the Means Test, the U.S. trustee, bankruptcy
        certain debts that are not listed in your bankruptcy                               administrator, or creditors can file a motion to dismiss
        papers.                                                                            your case under § 707(b) of the Bankruptcy Code. If a
                                                                                           motion is filed, the court will decide if your case should
 You may also be required to pay debts arising from:                                       be dismissed. To avoid dismissal, you may choose to
                                                                                           proceed under another chapter of the Bankruptcy
        fraud or theft;                                                                    Code.

        fraud or defalcation while acting in breach of                                     If you are an individual filing for chapter 7 bankruptcy,
        fiduciary capacity;                                                                the trustee may sell your property to pay your debts,
                                                                                           subject to your right to exempt the property or a portion
        intentional injuries that you inflicted; and                                       of the proceeds from the sale of the property. The
                                                                                           property, and the proceeds from property that your
        death or personal injury caused by operating a                                     bankruptcy trustee sells or liquidates that you are
        motor vehicle, vessel, or aircraft while intoxicated                               entitled to, is called exempt property. Exemptions may
        from alcohol or drugs.                                                             enable you to keep your home, a car, clothing, and
                                                                                           household items or to receive some of the proceeds if
 If your debts are primarily consumer debts, the court                                     the property is sold.
 can dismiss your chapter 7 case if it finds that you have
 enough income to repay creditors a certain amount.                                        Exemptions are not automatic. To exempt property,
 You must file Chapter 7 Statement of Your Current                                         you must list it on Schedule C: The Property You Claim
 Monthly Income (Official Form 122A–1) if you are an                                       as Exempt (Official Form 106C). If you do not list the
 individual filing for bankruptcy under chapter 7. This                                    property, the trustee may sell it and pay all of the
 form will determine your current monthly income and                                       proceeds to your creditors.
 compare whether your income is more than the median
 income that applies in your state.

 If your income is not above the median for your state,
 you will not have to complete the other chapter 7 form,                                   Chapter 11: Reorganization
 the Chapter 7 Means Test Calculation (Official Form
 122A–2).
                                                                                                          $1,167    filing fee
 If your income is above the median for your state, you
 must file a second form —the Chapter 7 Means Test                                             +            $550    administrative fee
 Calculation (Official Form 122A–2). The calculations on
                                                                                                          $1,717    total fee
 the form— sometimes called the Means Test—deduct
 from your income living expenses and payments on
                                                                                           Chapter 11 is often used for reorganizing a business,
 certain debts to determine any amount available to pay
                                                                                           but is also available to individuals. The provisions of
 unsecured creditors. If
                                                                                           chapter 11 are too complicated to summarize briefly.




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        Read These Important Warnings

             Because bankruptcy can have serious long-term financial and legal consequences, including loss of
             your property, you should hire an attorney and carefully consider all of your options before you file.
             Only an attorney can give you legal advice about what can happen as a result of filing for bankruptcy
             and what your options are. If you do file for bankruptcy, an attorney can help you fill out the forms
             properly and protect you, your family, your home, and your possessions.

             Although the law allows you to represent yourself in bankruptcy court, you should understand that
             many people find it difficult to represent themselves successfully. The rules are technical, and a mistake
             or inaction may harm you. If you file without an attorney, you are still responsible for knowing and
             following all of the legal requirements.

             You should not file for bankruptcy if you are not eligible to file or if you do not intend to file the
             necessary documents.

             Bankruptcy fraud is a serious crime; you could be fined and imprisoned if you commit fraud in your
             bankruptcy case. Making a false statement, concealing property, or obtaining money or property by
             fraud in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to
             20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.



                                                                                             Under chapter 13, you must file with the court a plan
 Chapter 12: Repayment plan for family                                                       to repay your creditors all or part of the money that
             farmers or fishermen                                                            you owe them, usually using your future earnings. If
                                                                                             the court approves your plan, the court will allow you
                                                                                             to repay your debts, as adjusted by the plan, within 3
                   $200        filing fee                                                    years or 5 years, depending on your income and other
 +                  $75        administrative fee                                            factors.
                   $275        total fee
                                                                                             After you make all the payments under your plan,
 Similar to chapter 13, chapter 12 permits family farmers                                    many of your debts are discharged. The debts that are
 and fishermen to repay their debts over a period of time                                    not discharged and that you may still be responsible to
 using future earnings and to discharge some debts that                                      pay include:
 are not paid.
                                                                                                       domestic support obligations,

                                                                                                       most student loans,
 Chapter 13: Repayment plan for
             individuals with regular                                                                  certain taxes,
             income
                                                                                                       debts for fraud or theft,

                   $235        filing fee                                                              debts for fraud or defalcation while acting in a
 +                  $75        administrative fee                                                      fiduciary capacity,
                   $310        total fee
                                                                                                       most criminal fines and restitution obligations,
 Chapter 13 is for individuals who have regular income
 and would like to pay all or part of their debts in                                                   certain debts that are not listed in your
 installments over a period of time and to discharge                                                   bankruptcy papers,
 some debts that are not paid. You are eligible for
 chapter 13 only if your debts are not more than certain                                               certain debts for acts that caused death or
 dollar amounts set forth in 11 U.S.C. § 109.                                                          personal injury, and

                                                                                                       certain long-term secured debts.




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                                                                                             A married couple may file a bankruptcy case
               Warning: File Your Forms on Time                                              together—called a joint case. If you file a joint case and
                                                                                             each spouse lists the same mailing address on the
 Section 521(a)(1) of the Bankruptcy Code requires that                                      bankruptcy petition, the bankruptcy court generally will
 you promptly file detailed information about your                                           mail you and your spouse one copy of each notice,
 creditors, assets, liabilities, income, expenses and                                        unless you file a statement with the court asking that
 general financial condition. The court may dismiss your                                     each spouse receive separate copies.
 bankruptcy case if you do not file this information within
 the deadlines set by the Bankruptcy Code, the                                               Understand which services you could receive from
 Bankruptcy Rules, and the local rules of the court.                                         credit counseling agencies

 For more information about the documents and                                                The law generally requires that you receive a credit
 their deadlines, go to:                                                                     counseling briefing from an approved credit counseling
 http://www.uscourts.gov/bkforms/bankruptcy_form                                             agency. 11 U.S.C. § 109(h). If you are filing a joint
 s.html#procedure.                                                                           case, both spouses must receive the briefing. With
                                                                                             limited exceptions, you must receive it within the 180
                                                                                             days before you file your bankruptcy petition. This
 Bankruptcy crimes have serious consequences                                                 briefing is usually conducted by telephone or on the
                                                                                             Internet.
        If you knowingly and fraudulently conceal assets
        or make a false oath or statement under penalty                                      In addition, after filing a bankruptcy case, you generally
        of perjury—either orally or in writing—in                                            must complete a financial management instructional
        connection with a bankruptcy case, you may be                                        course before you can receive a discharge. If you are
        fined, imprisoned, or both.                                                          filing a joint case, both spouses must complete the
                                                                                             course.
        All information you supply in connection with a
        bankruptcy case is subject to examination by the                                     You can obtain the list of agencies approved to provide
        Attorney General acting through the Office of the                                    both the briefing and the instructional course from:
        U.S. Trustee, the Office of the U.S. Attorney, and                                   http://justice.gov/ust/eo/hapcpa/ccde/cc_approved.html
        other offices and employees of the U.S.                                              .
        Department of Justice.
                                                                                             In Alabama and North Carolina, go to:
 Make sure the court has your mailing address                                                http://www.uscourts.gov/FederalCourts/Bankruptcy/
                                                                                             BankruptcyResources/ApprovedCredit
 The bankruptcy court sends notices to the mailing                                           AndDebtCounselors.aspx.
 address you list on Voluntary Petition for Individuals
 Filing for Bankruptcy (Official Form 101). To ensure                                        If you do not have access to a computer, the clerk of
 that you receive information about your case,                                               the bankruptcy court may be able to help you obtain
 Bankruptcy Rule 4002 requires that you notify the court                                     the list.
 of any changes in your address.




Notice Required by 11 U.S.C. § 342(b) for Individuals Filing for Bankruptcy (Form 2010)                                                                 page 4
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Revised 12/1/2009                                                                                                              LBR Appendix 1007-b-6
                                                               United States Bankruptcy Court
                                                                      Eastern District of Texas
 In re      Muhammad Nasir Siddiqi                                                                                Case No.   19-42834
                                                                                      Debtor(s)                   Chapter    7




                                                      VERIFICATION OF CREDITOR MATRIX



                         The above named Debtor(s) hereby verifies that the attached list of creditors is true and correct to
                         the best of my/our knowledge.



 Date: November 8, 2019                                                    /s/ Muhammad Nasir Siddiqi
                                                                           Muhammad Nasir Siddiqi
                                                                           Signature of Debtor




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                                 Affiliated Bank
                                 P.O. Box 77408
                                 Trenton, NJ 08628

                                 American Express
                                 PO BOX 650448
                                 DALLAS, TX 75265

                                 Bank Of America
                                 PO BOX 851001
                                 DALLAS, TX 75381

                                 BB&T
                                 P.O. Box 650657
                                 Dallas, TX 75265

                                 Biorev, LLC
                                 400 E Royal Lane
                                 Suite 290
                                 Irving, TX 75039

                                 Candence Bank
                                 P.O. Box 4931
                                 Houston, TX 77210

                                 Chase Card
                                 Hiba Entertainnent card
                                 Cardmember Service
                                 PO BOX 6294
                                 CAROL STREAM, IL 60197

                                 Citi Advantage AA
                                 Citi Business Card
                                 PO BOX 9001037
                                 Louisville, KY 40290

                                 Citi Card
                                 PO BOX 78045
                                 PHOENIX, AZ 85062

                                 Discover Card
                                 PO BOX 790213
                                 ST. LOUIS, MO 63179

                                 Dish Network
                                 131 Tower Park Dr.
                                 Ste. 100
                                 Waterloo, IA 50701

                                 Firoz Samdhani
                                 11076 Harry Hines
                                 Dallas, TX 75229
                                 Hiba Entertainmnet, Inc
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                                 Lincoln Financial
                                 P.O. Box 790119
                                 Saint Louis, MO 63179

                                 Loopimation
                                 400 E Royal
                                 Suite 290
                                 Irving, TX 75039

                                 Nabeel Siddiqi
                                 1284 Crocket Drive
                                 Frisco, TX 75033

                                 Natwar Thakkar
                                 239 US 22
                                 Dunellen, NJ 08812

                                 Nebraska Funiture Mart Inc.
                                 7718 Springdale Rd.
                                 Austin, TX 78724

                                 Pay pal
                                 P.O. Box 71202
                                 Charlotte, NC 28272

                                 Reliable Chevrolet
                                 800 N Central Expressway
                                 Richardson, TX 75080

                                 Ropel Enterprises
                                 4131 N Central Expressway
                                 Suite 1000
                                 Dallas, TX 75204

                                 Roshni Production
                                 239 US 22`
                                 Dunellen, NJ 08812

                                 Roshni Thukkar
                                 239 US 22
                                 Dunellen, NJ 08812

                                 Sagar Gupta
                                 400 Royal Lane
                                 Suite 290
                                 Irving, TX 75039
                                 Simmons Bank
                                 PO BOX 7009
                                 PINE BLUFF, AR 71611

                                 TD Auto Finance
                                 P.O. Box 100295
                                 Columbia, SC 29202
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                                 US Bank
                                 P.o. Box 790408
                                 Saint Louis, MO 63179
